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  UNSAFE USED CARS FOR SALE
          Unrepaired Recalled Vehicles at AutoNation Dealerships
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UNSAFE USED CARS FOR SALE
 Unrepaired Recalled Vehicles at AutoNation Dealerships




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                          OCTOBER 2019
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losses through education, outreach, aid to victims, and related activities. CARS Founda-
tion’s petitions to the National Highway Traffic Safety Administration have led to the
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and their families, and to the recall of defective vehicles. For more about the CARS Founda-
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EXECUTIVE SUMMARY


AUTONATION, WHICH BILLS ITSELF                                           Jeep West (CO) dealership, nearly 1 in 5
as “America’s Largest Auto Retailer,” is                                 used vehicles – including certified pre-
selling recalled used vehicles that contain                              owned vehicles – had unrepaired recalls.
dangerous safety defects. 1 In a survey of                               At the Honda Fremont (CA), Hyundai
over 2,400 used vehicles for sale at 28 Auto-                            Denver (CO), Chrysler Dodge Jeep Ram
Nation locations, 1 in 9 were found to have                              and Fiat Johnson City (TN) and Subaru
unrepaired safety recalls. Those vehicles are                            Spokane Valley (WA) dealerships, more
potentially hazardous to the people who                                  than 1 in 6 used vehicles contained an
buy them, their passengers and everyone                                  unrepaired safety recall.
else on the road. Vehicles with defects sub-
ject to safety recalls – including malfunc-                         • Even “certified” pre-owned vehicles of-
tioning Takata airbags and General Motors                             ten have unresolved recalls.† Our survey
ignition switches – have been responsible                             found 14 instances of “certified” cars
for thousands of injuries and deaths.2                                with unrepaired safety recalls.3

Every AutoNation location surveyed was                              All vehicle safety recalls should be taken
found to have unsafe, recalled used vehi-                           seriously, and vehicles should be repaired
cles for sale.                                                      before sale to consumers for use on the
                                                                    roads. Some victims have been killed within
• Researchers surveyed used vehicles for                            hours of when a dealer handed them the
  sale at 28 AutoNation locations in 16                             key to a defective car.4
  metro areas across the nation during
  July and August 2019.* Out of 2,429                               69 of the 2,429 used vehicles surveyed
  vehicles surveyed, 285 had unrepaired                             contained recalled Takata airbags that
  safety recalls.                                                   have been linked to 24 deaths and over
                                                                    200 injuries globally.5 Exploding shrapnel
• Some dealerships had a significantly                              from defective airbags has caused blind-
  greater proportion of used vehicles                               ness and brain injury, as well as death
  under recall than others. At the Chrysler                         from blood loss.6


* Since the survey was completed, two of the dealerships surveyed – AutoNation Mitsubishi Houston and AutoNation Nissan
  Lewisville – have ceased to be AutoNation dealerships. AutoNation Mitsubishi Houston is now closed, and AutoNation Nissan
  Lewisville is no longer under AutoNation management.
† Certified Pre-Owned (CPO) vehicles are a distinction that car manufacturers started in the 1990s for low-mileage leased cars or
  trade-ins. Nearly all auto manufacturers have their own CPO programs, which include certain standards and benefits. While
  details differ between programs, generally CPO cars go through a multi-point inspection and include some sort of manufacturer-
  backed warranty. They generally command a price that’s $850 to $3,000 higher than a similar, non-CPO car.



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         Some recalled used vehicles at AutoNation        minor item. …These are significant safety re-
         had no remedy available.                         calls, and we feel the time has passed that it’s
                                                          appropriate to take a vehicle in trade with a
         Of the vehicles surveyed, 47 (16 percent of      significant safety recall and turn around the
         recalled vehicles) had an unrepaired safety      next day and sell it to consumers.”9
         recall for which a remedy wasn’t available
         at the time of the analysis. Consumers who       His statement was referencing the promise
         purchase such a vehicle may have to wait         that AutoNation made in 2015 not to sell
         for months or longer before their unsafe         used vehicles with unrepaired recalls.10 But
         recalled vehicle can be repaired.7               this pledge lasted less than 18 months. On
                                                          November 28, 2016, AutoNation walked
         AutoNation advertises that its used vehi-        back on its promise and began to market
         cles are “worry-free.”                           recalled vehicles.11

         AutoNation claims on its website that “we        Many recalled vehicles are at dealers with
         take the risk out of buying a pre-owned          service shops capable of making repairs
         vehicle,” and that “as an industry leader we     in-house.
         hold ourselves to higher standards.” It also
         purports to “provide promises and processes      Most AutoNation dealerships are franchi-
         you won’t find anywhere else,” and adver-        sees which sell new cars that are affiliated
         tises its pre-owned vehicles as “worry-free.”8   with a specific manufacturer and have
                                                          service shops that specialize in fixing that
         However, former AutoNation CEO Mike              manufacturer’s vehicles. Since recalled
         Jackson has admitted that vehicles with          vehicles typically must be returned to an
         safety recalls are far from “worry-free.” In     authorized dealer for repairs, this should
         2016, Automotive News reported that he said:     make it easier for those dealerships to make
                                                          repairs to used recalled vehicles of the same
         “These are not that the wrong tire-pressure      brand, as a service department capable of
         sticker is on the car or some other little       making the repairs often exists on site.12 But,


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our survey found 62 used vehicles that were     • State attorneys general should investi-
being sold by AutoNation dealerships of the       gate AutoNation and other dealers who
same make as the vehicle under recall.            engage in such practices, and enforce
                                                  existing state laws that prohibit them
Dealers’ sales of used vehicles with unre-        from selling unsafe, unrepaired recalled
paired safety recalls may be illegal.             vehicles to the motoring public.

All states prohibit licensed dealers, includ-   • AutoNation should honor the commit-
ing those that sell used vehicles, from en-       ment it made in 2015 and re-institute its
gaging in practices such as bait and switch,      former policy of not selling used cars with
false advertising, unfair and deceptive acts      unrepaired recalls. Dealerships across the
and practices, fraud, violating express or        country should follow suit and implement
implied warranties and the common law             policies that prevent the sale of used vehi-
duty of care, negligence or causing wrong-        cles with unrepaired safety recalls.
ful death. AutoNation’s failure to repair
recalled cars despite promising that it is      For consumers
selling vehicles that are of high quality may
violate these provisions.                       • As long as dealers continue to sell
                                                  vehicles with unrepaired recalls, con-
Auto dealers should not sell unrepaired           sumers should investigate any used
recalled used cars to consumers. To help ad-      vehicle they plan on purchasing to
dress the risks posed by AutoNation’s sales       make sure that it does not contain
of unsafe recalled vehicles to consumers:         unrepaired recalls. If the vehicle does
                                                  have an unrepaired recall, consum-
Policy recommendations                            ers should refuse to buy it until it has
                                                  been repaired by the seller at an autho-
• The U.S. District Court in Washington,          rized dealership.
  D.C., should grant the relief requested by
  Consumers for Auto Reliability and Safety,    • If you recently purchased a used car,
  U.S. PIRG, and the Center for Auto Safety,      you should look up the Vehicle Identi-
  and overturn the Federal Trade Commis-          fication Number (VIN) at www.safecar.
  sion’s consent orders with GM and with          gov. If there is an unrepaired recall, go
  the automotive dealership chains CarMax,        to any of the manufacturer’s authorized
  Lithia, Koons, West-Herr and Asbury             dealerships to have it fixed.
  that allows them to advertise that unsafe
  vehicles with unrepaired safety recalls are   • If you own a vehicle that is subject to a
  “safe,” “subject to rigorous inspections,”      safety recall, and the parts are not avail-
  “repaired for safety,” and “certified,” as      able to fix the recall, insist on getting a
  long as they merely disclose that the vehi-     safe loaner or rental vehicle from the
  cles may have an open safety recall.13          manufacturer.

• The Federal Trade Commission should           • Consumers or surviving family mem-
  prohibit AutoNation and other dealers           bers harmed by dealers who sold unre-
  from engaging in deceptive and unfair           paired, recalled used cars should consult
  practices, such as advertising its used         an attorney in their state who specializes
  vehicles as “worry free” and high-quality       in representing consumers in auto war-
  when they have unrepaired safety recalls.       ranty and auto fraud litigation.



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         Unrepaired safety recalls
         put lives at risk
         VEHICLES WITH UNREPAIRED                                      COREY JACKSON
         SAFETY recalls pose serious safety
         risks, both for people inside and
                                                                       Less than a year after Corey Jackson pur-
         outside of the vehicle.* According
                                                                       chased a used Buick LaCrosse from a South
         to the National Highway Traffic
                                                                       Chicago dealership, he decided to pass a
         Safety Administration (NHTSA),
                                                                       slower car on the road. Jackson swung out of
         which oversees vehicle safety
                                                                       his lane and sped up, but when he saw an-
         recalls: “All safety recalls resulting
                                                                       other car coming in the opposite direction,
         from defects present an unreason-
                                                                       decided to abandon the effort. But instead of
         able risk to safety and we believe
                                                                       quietly falling back into its lane, Jackson’s car
         it is inappropriate to suggest that
                                                                       suddenly veered off the road. Jackson ended
         some defects are not risky enough
                                                                       up crashing into a tree and, as the airbag failed
         to require repair. For the safety of
                                                                       to deploy, slammed his head into the steering
         the motoring public, all recalled ve-
                                                                       wheel – knocking him unconscious, breaking
         hicles should be fixed promptly.”14
                                                                       his jaw and severing several teeth. The crash
                                                                       also injured Jackson’s hip, knee and fractured
         Driving vehicles with unrepaired
                                                                       his ankle.17
         safety recalls can have deadly
         consequences. A defective igni-
                                                                       Jackson ultimately survived the crash, one of
         tion switch found in a number of
                                                                       the luckier victims of the General Motors (GM)
         General Motors vehicles has been
                                                                       ignition switch malfunction that has already
         linked to 124 deaths.15 Defective Ta-
                                                                       claimed 124 lives.18 GM issued a recall for his
         kata air bag inflators, the subject of
                                                                       2008 Buick LaCrosse in first half of 2014, but
         a massive recall that began in 2008,
                                                                       when Jackson bought the car in 2016, the recall
         have been linked globally to over
                                                                       was still not repaired. 19 In an interview with
         200 injuries and at least 24 deaths.16
                                                                       the Chicago Sun-Times, Jackson said that the
                                                                       crash “cost me my lifestyle, my job — damn
                                                                       near my life.”20



         * Safety recalls do not include emissions recalls, service campaigns, minor defects, or defects that do not impact safety. Some safety
           defects that lead to recalls include:
           •    Impacted steering (NHTSA Recall # 19V312)
           •    Faulty brakes (NHTSA Recall # 18V-916)
           •    Vehicle Fires (NHTSA Recall # 16V777)
           •    Hoods that fly up without warning, obscuring the driver’s vision in traffic (NHTSA Recall # 09E-063)
           •    Broken transmission shifter cables, resulting in unoccupied vehicles rolling away (NHTSA Recall # 18V471)
           •    Airbags that inadvertently inflate (NHTSA Recall # 17V627)
           •    Airbags that explode with excessive force, propelling metal shrapnel into occupants (NHTSA Recall # 18V043)




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Findings: More than 1 in 9 surveyed
AutoNation used vehicles have
unrepaired safety recalls
AUTONATION CLAIMS THAT IT IS                                     The survey found that:
“America’s Largest Auto Retailer,” having
served over 12 million customers across 16                       • Out of a total of 2,429 used vehicles sur-
states.21 Founded in 1991, the company has                         veyed, 285 had unrepaired safety recalls,
grown from a modest used-car dealership                            accounting for over 1 in 9 vehicles.
chain to a Fortune 500 company that owns
and operates stores around the country. At                       • 47 vehicles had unfixed safety recalls for
the end of 2018, AutoNation ran more than                          which no repairs were currently available.
360 franchises and had a net income of
$396 million.22                                                  • 52 vehicles had more than one unre-
                                                                   paired safety recall. Of those, 11 vehicles
Yet, despite its size and commercial success,                      had three unrepaired safety recalls, and
AutoNation sells used cars that have unre-                         two vehicles had four unrepaired recalls.
paired safety recalls. A survey of used ve-
hicles for sale at 28 AutoNation dealerships                     There were some franchises that stood out
in July and August 2019* found cars for sale                     for their high percentage of recalled vehi-
at every single dealership with unrepaired                       cles. At the Chrysler Jeep West (CO) dealer-
safety recalls. The survey assessed used                         ship, nearly 1 in 5 used vehicles – including
vehicles for sale at AutoNation locations in                     certified pre-owned vehicles – had unre-
16 metro areas across 12 states.                                 paired recalls. At the Honda Fremont (CA),


FIGURE 1: SURVEYED AUTONATION DEALERSHIPS IN 16 METRO AREAS ACROSS 12 STATES




* Since the survey was completed, two of the dealerships surveyed – AutoNation Mitsubishi Houston and AutoNation Nissan
  Lewisville – have ceased to be AutoNation dealerships. AutoNation Mitsubishi Houston is now closed, and AutoNation Nissan
  Lewisville is no longer under AutoNation management.

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         Hyundai Denver (CO), Chrysler Dodge
         Jeep Ram and Fiat Johnson City (TN) and
         Subaru Spokane Valley (WA) dealerships,
         more than 1 in 6 used vehicles contained an
         unrepaired safety recall.

         69 of the 2,429 vehicles surveyed had re-
         called Takata airbags that have been linked
         to 24 deaths and more than 200 injuries
         globally.23 Exploding shrapnel from defec-
         tive Takata airbags has caused blindness
         and brain injury, and even death.24 The        Stephanie Erdman was wounded in her 2002 Honda
         recall has been extended and expanded          Civic by a defective Takata airbag, which shot metal
         several times since it began in 2008, most     fragments into her right sinus. Erdman went through
         recently in January 2019, and NHTSA has        numerous surgeries after the accident and has suffered
         called it the “the largest and most complex    permanent vision loss. She testified before the U.S.
         safety recall in U.S. history.”25 Because of   Senate about her experience in 2014. Source: C-SPAN.31
         the scale of the recall, some customers who
         purchased a vehicle containing a defective
         Takata airbag have had to wait years for a     AutoNation also sells “certified pre-owned”
         replacement airbag or a repair.26              vehicles, which are often cars that have been
                                                        leased and have a lower mileage.32 Typically,
                                                        the standards and conditions of “certified”
           CARLOS SOLIS                                 used vehicles are set by each manufacturer,
                                                        and most entail a multi-point inspection and
           In January 2015, Carlos Solis and his        a limited warranty.33 Consumers can expect
           11-year old cousin were making a left        to pay approximately $850 to $3000 more for
           turn into an apartment complex out-          a certified car than a non-certified car.34
           side of Houston when his 2002 Honda
           Accord collided with another vehicle.27      At least some auto manufacturers’ franchise
           During the collision the airbags de-         agreements with their franchised dealerships
           ployed, turning what was little more         require that any pending safety recalls be
           than a fender-bender into a deadly           performed before a vehicle can qualify to be
           accident. Solis’s car was equipped           sold as “certified” and covered by a warranty
           with Takata airbags, the same kind           from the manufacturer. For example, General
           that were subject to what the NHTSA          Motors’ description of its “GM Certified”
           calls the “largest and most complex          program includes this statement: “Important
           safety recall in U.S. history,” and          Recall Information: Before a Certified Pre-
           which had been known to eject metal          Owned vehicle is listed or sold, GM requires
           fragments when deployed.28 For Solis,        dealers to complete all safety recalls.”35
           this resulted in a piece of metal enter-
           ing his neck with “with an explosive         Yet, despite consumers’ expectations that
           force severe enough to lodge the metal       certification programs would address any
           into his cervical spine and shoulder,”       known safety issues with a “certified” used
           according to the Houston Press.29 While      car, our survey discovered 14 instances of
           Solis’s little cousin was unhurt, Solis      these vehicles for sale by AutoNation with
           was found dead at the scene.30               unrepaired safety recalls. These included



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potential malfunction of the brake lights,       be dangerous to drive even for a few hours,
as well as doors that can inadvertently          let alone for months.40
open while the vehicle is moving.36 While a
smaller share of certified vehicles (1 in 30)    This survey found 47 used vehicles for sale
had open safety recalls, their existence runs    with an unrepaired safety recall for which
counter to consumers’ expectations of higher     a remedy or repair was “not yet available.”
quality from “certified” pre-owned vehicles.     Recall reports posted to the NHTSA website
                                                 describe defects with risks including:
Although this report focuses on AutoNa-
tion, the sale of used vehicles with unre-       • 2016 Lexus LX570: “The front passen-
paired recalls is an industry-wide problem.        ger occupant classification system has a
Two years ago, the Massachusetts Public            seatbelt tension sensor that could mal-
Interest Research Group (MASSPIRG)                 function over time and could cause the
Education Fund and Consumers for Auto              airbag warning light and the passenger
Reliability and Safety (CARS) released the         airbag “OFF” indicator to illuminate. In
first edition of this report, entitled “Used       addition, the front passenger airbag, knee
Car Roulette.” The report examined another         airbag, and the passenger seat-mounted
major dealership chain, CarMax, and found          side airbag may be deactivated.”41
that more than a quarter of surveyed used
cars had unrepaired safety recalls at deal-      • 2013 Ford Focus: “On your vehicle, the
erships across Massachusetts, Connecticut          engine may stall due to a stuck canister
and California.37 Investigations by the media      purge valve (CPV) within the fuel vapor
have found other dealerships that also sell        system. A stuck CPV can lead to exces-
recalled vehicles, as well as sales personnel      sive vacuum in the fuel vapor system,
that attempted to downplay the danger.38           causing the plastic fuel tank to deform,
                                                   resulting in an inaccurate or erratic fuel
Many used vehicles for sale                        gauge indication, inaccurate distance
at AutoNation dealerships                          to empty (DTE), and/or other drivabil-
have safety recalls for which                      ity concerns.” “An engine stall while
a repair is not yet available                      driving without warning or without the
According to the National Highway Traf-            ability to restart,” the report continued,
fic Safety Administration (NHTSA), when            “can increase the risk of a crash.”42
a vehicle is subject to a safety recall “it is
very important that you visit your dealer        • 2013 Mercedes-Benz C350W: “Under
to have the vehicle serviced.”39 However,          certain circumstances during a crash that
not all vehicles can be repaired. That is          necessitates frontal airbag deployment,
because, according to the manufacturers, a         the defect in your passenger-side frontal
remedy is not yet available for some of the        airbag inflator may cause the inflator
safety recalls found in vehicles surveyed          housing to rupture. A passenger-side
for this report.                                   inflator explosion during deployment
                                                   could result in metal fragments strik-
In such cases, it may take weeks or months         ing the front passenger or other occu-
for a manufacturer to figure out an effective      pants, possibly causing serious injury or
repair, design, produce and distribute the         death.”43 (Part of the Takata Airbag Recall)
parts, and train its dealerships’ automo-
tive technicians to perform the repair. In       For a complete list of the vehicles with
the meantime, the car would not be safe to       outstanding recalls identified in this survey,
drive. Vehicles with unrepaired recalls can      please see the Appendix.


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         Many recalled vehicles are                                        Many AutoNation dealerships, as franchi-
         at AutoNation dealerships                                         sees of specific manufacturers, are autho-
         with service shops capable of                                     rized to perform safety recall repairs. For
         making repairs in-house                                           example, Honda Fremont specializes in
         When a customer is notified of a recall, the                      selling new Honda vehicles and the Nissan
         manufacturer and NHTSA instruct them to                           Tempe dealership specializes in Nissan cars
         take it to an authorized dealership, where                        and trucks. Each of the co-branded dealer-
         the manufacturers are required to cover the                       ships that we surveyed had a service shop that
         cost of fixing the recall for at least 15 years                   could perform the necessary repairs on pre-
         from when the recall was issued.44 Having                         owned recalled vehicles for which remedies
         a service shop capable of making recall                           were available. Yet, we found 62 recalled, used
         repairs on site should reduce the barriers to                     vehicles for sale at AutoNation dealerships of
         addressing recall repairs before sale.                            the same make as the recalled vehicle.



           TWO SURVEYED VEHICLES HAD FOUR UNREPAIRED RECALLS EACH
           This survey found 52 vehicles for sale                          the Hyundai Denver dealership and a
           with more than one unrepaired safety                            2006 Dodge Ram 3500 pickup truck at
           recall, meaning that those vehicles had                         the Chrysler Jeep West dealership (CO)
           more than one defective part present-                           - contained four unrepaired safety re-
           ing a safety risk. Among those vehicles,                        calls.45 These recalls include defects that
           11 contained three unrepaired recalls                           could affect steering, airbag safety and
           and two vehicles – a 2013 Audi Q5 at                            the likelihood of a fire.46

           2013 Audi Q547                                                  2006 Dodge Ram 350048
             NHTSA Recall #   Recall Safety Risk                            NHTSA Recall #   Recall Safety Risk
             17V622           “Melting wires may usually lead to            09E-001          “The drag link inner joint may fracture
                              an open circuit, but can also lead to                          under certain driving conditions. This
                              overheating which can result in a fire.”                       could result in a loss of steering control
                                                                                             and cause a crash without warning. This
             17V001           “A corroded airbag [side head airbag]                          could allow the bracket to slide on the
                              canister could fracture without airbag                         tube and may cause increased vehicle
                              deployment, propelling fragments into                          turning radius.”
                              the passenger compartment, striking
                              and causing serious injury to vehicle         13V-528          “The left tie rod ball stud on the Mopar
                              occupants.”                                                    service parts steering linkage may
                                                                                             fracture under certain driving conditions.
             17V298           “On certain vehicles, the fuel pump                            …This could cause a loss of directional
                              flange may develop fine cracks or                              control and/or a crash without warning.”
                              fissures, which could result in a fuel
                              leak. … Leaking fuel, in the presence of      15V-313          “An inflator rupture, during airbag
                              an ignition source, may result in a fire.”                     [driver airbag] deployment events, could
                                                                                             result in metal fragments striking and
             18V229           “The electric (after-run) coolant pump                         potentially seriously injuring the vehicle
                              may short circuit and/or overheat,                             occupant(s).” (Takata Airbag Recall)
                              potentially leading to a vehicle fire.”
                                                                            16V-352          “An inflator rupture, during airbag [front
                                                                                             passenger airbag] deployment events,
                                                                                             could result in metal fragment(s)
                                                                                             striking the vehicle occupant(s) resulting
                                                                                             in serious injury or death.” (Takata
                                                                                             Airbag Recall)




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AutoNation walks back its
promise not to sell used vehicles
with outstanding recalls
IN SEPTEMBER 2015, WHEN NEWS WAS                We make it our responsibility as a retailer
spreading about a series of crashes, some       to identify those vehicles and remove them
fatal, that involved recalled Takata airbags    from the market until their safety issues
and faulty ignition switches from General       have been addressed.”51
Motors, AutoNation made a promise: It was
not going to sell any used car that had an      AutoNation’s pledge lasted less than a year
unresolved safety recall.49                     and a half.52 In a 2016 interview with Auto-
                                                motive News, Jackson highlighted the lack
As one of the first major dealership chains     of regulatory action as a key reason why
to publicly adopt such a policy, the an-        his company would start selling used cars
nouncement generated significant press          with safety recalls, saying “with the Trump
and praise from consumer safety advocates.      administration there’s no way that the issue
Consumer Reports called it a “move that         is going to be addressed from a regulatory
will bolster consumer confidence, conve-        point of view.”53
nience and safety” and an author of this
report, Rosemary Shahan of Consumers for        During that period, AutoNation’s promise
Auto Reliability and Safety (CARS), was         not to sell recalled used cars was covered
quoted in NBC News as saying it was “a          in numerous media outlets, including the
historic commitment to safety.”50               Wall Street Journal, NBC and industry publi-
                                                cations.54 The company even trumpeted its
In a statement, AutoNation’s CEO at the         commitment to safety in its advertising.55
time, Mike Jackson, said “There’s no way        But the positive press and messaging were
to expect that customers would or should        not enough to convince the auto dealer to
know of every safety recall on every vehi-      keep its promise. On November 28, 2016,
cle they might purchase, so we will ensure      AutoNation began to sell dangerous, re-
that our vehicles have all recalls completed.   called used vehicles to consumers.56




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          AutoNation advertises that its
          used vehicles are “worry-free”
          AUTONATION’S WEBSITE TOUTS ITS                    a “Worry Free Used Vehicle” from Auto-
          used vehicles, claiming “we take the risk         Nation, “you can buy a pre-owned vehicle
          out of buying a pre-owned vehicle.”57             with confidence.”59

          Furthermore, AutoNation emphasizes the            Additionally, four of the surveyed Auto-
          quality of its vehicles and its company. On       Nation dealerships were given the “J.D.
          the same page, it says that “as an industry       Power Dealership of Excellence” award,
          leader, we hold ourselves to higher stan-         which recognizes dealerships with a
          dards,” and that “we provide promises and         “commitment to the customer sales experi-
          processes you won’t find anywhere else.”          ence.”61 But despite the accolades, some of
          Some of these promises and processes for          these dealerships had high percentages of
          used, or “pre-owned,” vehicles include            used vehicles with unrepaired recalls. At
          a CARFAX Vehicle History Report and               AutoNation Subaru Spokane Valley, a re-
          a “rigorous 125-point safety inspection           cipient of the J.D. Power award, more than
          report.”58 According to the site, by buying       1 in 6 used vehicles had unrepaired recalls.




          AutoNation’s website claims that its used cars are “worry free” and that consumers can “buy a
          pre-owned vehicle with confidence.” 60




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Legal battles: Dealerships fight to
legalize sales of unsafe vehicles
AUTONATION’S POLICY OF SELLING                   lawful for any person, firm, corporation or
used vehicles with unrepaired recalls puts       association … to make or disseminate … any
lives at risk. The company is also jeopar-       statement, concerning that real or personal
dizing its reputation and brand, and risking     property or those services … which is untrue
legal action by victims, surviving family        or misleading, and which is known, or which
members, or law enforcement agencies.            by the exercise of reasonable care should be
                                                 known, to be untrue or misleading.”65
There are several broad, state and federal
consumer protection laws that apply to sales     In some areas of the country, government
of a range of consumer products and services.    officials have used existing laws to prevent
Many of those laws also apply to car dealers’    dealers from selling used vehicles with un-
sales of unsafe vehicles to consumers.           repaired recalls. For example, in New York
                                                 City, the Department of Consumer Affairs
According to the Federal Trade Commis-           took actions to curb auto dealerships that
sion, “State product safety, tort, and other     were accused of selling unrepaired used cars,
consumer protection laws, provide impor-         enforcing a provision of city law that requires
tant safeguards to consumers affected by         dealers to certify that used vehicles offered
defective cars.”62 Any licensed dealer who       for sale to consumers are “roadworthy.”66
deceives consumers or puts lives in danger
by selling an unsafe, defective product risks    While various state laws can be applied to
being sanctioned by state attorneys general      car dealers’ sales of used cars, there is cur-
and also faces possible private litigation       rently no federal law that specifically pro-
brought by victims or survivors of incidents     hibits car dealers from selling used vehicles
caused by its conduct.63                         with an unrepaired safety recall, unless the
                                                 vehicles are part of a rental or loaner car
In addition, more specific existing laws in      fleet of 35 or more vehicles.67
all 50 states prohibit licensed dealers, in-
cluding those that sell used vehicles, from      During the Obama Administration, the U.S.
engaging in various practices such as bait       Department of Transportation and NHTSA
and switch, false advertising, unfair and        urged Congress to pass legislation ensuring
deceptive acts and practices, and fraud. For     that all recalled vehicles sold, leased, loaned, or
example, Indiana has a law that makes it a       rented to consumers by rental car companies or
violation of that state’s unfair and deceptive   auto dealerships were repaired prior to chang-
acts and practices (UDAP) law for any mer-       ing hands, whether they were new or used.68
chant to sell a product with an open recall.64
                                                 Under the Trump administration, however,
California, which was home to four of the 28     the threat of regulatory action has decreased
dealerships surveyed, has laws that prohibit     dramatically. AutoNation’s then-CEO Mike
false or misleading advertising. One of these    Jackson cited the change in administration
laws, Section 17500 of the California Business   as one of the reasons the company began to
and Professions Code, states that it is “un-     sell used cars with recalls in late 2016. 69


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          In June 2019, U.S. Senators Richard Blu-              unrepaired recall – shifting the liability onto
          menthal (Connecticut) and Edward Markey               victims.75 The groups have dubbed such
          (Massachusetts) re-introduced the Used Car            bills “license to kill” legislation.76
          Safety Recall Repair Act, which would add
          a federal prohibition against auto dealers            The only states that have enacted car
          selling, leasing, or loaning any used vehi-           dealer “license to kill” bills are Tennessee
          cle with an unrepaired safety recall.70 As of         and Pennsylvania.77
          August 2019, no further action beyond the
          bill’s introduction had been taken.71                   JEWEL BRANGMAN
          Additionally, there are specific federal laws           In September 2014, Jewel Brangman,
          that address the sale of new and rental ve-             a 26-year-old model, talented gym-
          hicles with unrepaired safety recalls. It is a          nast and gymnastics teacher with a
          violation of federal law for a dealer to sell           master’s degree, who was making
          a recalled vehicle as “new.” The National               plans for getting her PhD at Stanford,
          Highway Traffic Safety Administration has               was driving in the Los Angeles area
          the authority to enforce that law and has               when she was in a fender bender with
          sometimes fined dealers who were accused                three other cars. Everyone else in the
          of selling unrepaired recalled “new” vehi-              incident walked away - and even
          cles.72 And under the Raechel and Jacqueline            Jewel’s rented 2001 Honda Civic was
          Houck Safety Rental Car Act, which took                 not badly damaged. But the defective
          effect June 1, 2016, it is also a violation of fed-     recalled Takata driver airbag in her car
          eral law for a rental car company (including            exploded, propelling metal fragments
          an auto dealership) to rent, loan or sell any           into Jewel’s neck. The shards sliced her
          recalled used vehicle that is part of a rental or       carotid artery and she bled to death.
          loaner vehicle fleet of 35 or more vehicles.73          She was the eighth person killed by a
                                                                  faulty Takata airbag.78 A federal ban
          In the wake of calls on both the federal and            prohibiting rental car companies from
          state level to ensure that all vehicles with            renting out or selling unrepaired cars
          safety recalls are repaired before being sold,          under recall didn’t go into effect until
          lobbyists for automotive dealerships have               2016.79 AutoNation persists in selling
          blocked action in Congress and have also                unsafe, recalled used cars with the
          lobbied for state laws that would diminish              same defect that took Jewel’s life. Her
          dealer liability while still allowing the sale          father, Alexander, has become a tireless
          of unsafe, recalled used vehicles.74                    advocate for sparing others the loss he
                                                                  and his family have suffered.
          So far, faced with opposition from coalitions
          of consumer, safety, civil rights, and eco-
          nomic justice organizations, spearheaded
          by Consumers for Auto Reliability and
          Safety, legislators have rejected car deal-
          er-backed bills in California, New York,
          Massachusetts, Virginia, Oregon, Maryland
          and Illinois and other states that would
          have allowed dealers to get away with
          selling unrepaired recalled used cars if they           Jewel and her father, Alexander.
          merely disclose that the vehicles have an               Courtesy of Alexander Brangman.




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Consumers who were sold unsafe                   For example, the parents of Raechel and
recalled used vehicles have                      Jacqueline Houck – two sisters aged 24 and
taken successful legal action                    20 who were killed by an unrepaired re-
Individual consumers who have been sold          called 2004 Chrysler PT Cruiser that caught
or rented unsafe recalled vehicles have suc-     on fire and lost steering – brought a lawsuit
ceeded in bringing lawsuits and obtaining        against Chrysler and Enterprise, the rental
settlements under general state consumer         car company that rented them the unsafe
protection statutes.                             car. A jury awarded the Houcks over $15
                                                 million in damages under California’s exist-
In 2018, Tammy Gutierrez of Bakersfield,         ing laws.83
CA, won an appellate court decision in her
litigation against CarMax over an unre-          Unfortunately, unlike the Houcks’ case,
paired, recalled Hyundai Elantra that Car-       nearly all cases result in out-of-court settle-
Max sold her without getting the free repairs    ments that require confidentiality, hiding
completed first. Her car had been recalled       crucial information about the dangerous
for a defective brake light switch, which Car-   practices and the terms of the settlements
Max did not fix, despite saying that the car     from the public and regulators.
had passed its “rigorous 125-point inspec-
tion,” which included brake lights.80

Fortunately, Gutierrez was not harmed by
her recalled vehicle, but in some cases in
which victims of defective recalled vehicles
have been injured or killed, they or their
survivors have successfully sued auto sell-
ers/dealers using existing laws - including
those against negligence.81


“Even while there’s no [specific
federal] regulatory requirement
for dealerships to conduct repairs               Jacqueline and Raechel Houck died in a recalled Chrysler PT
                                                 Cruiser they rented in 2004. Their names are now on the federal
on recalled vehicles or parts, it                law that prohibits rental car companies from renting, loaning or
                                                 selling vehicles with unrepaired safety recalls. Courtesy of Cally Houck.
doesn’t get them off the hook for
lawsuits over injuries or deaths…
They have a common-law duty
to exercise ordinary care for the
safety of consumers.”
– Robert Ammons, the Solis family attorney, as
quoted in Bloomberg. Carlos Solis was killed
by a defective Takata airbag in 2015.82




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          Conclusions and recommendations
          WHEN A CONSUMER BUYS A VEHICLE                      orders with GM and with the automo-
          from a duly licensed dealership, whether            tive dealership chains CarMax, Lithia,
          new or used, they expect that the vehicle           Koons, West-Herr and Asbury that
          is safe and does not have any unrepaired            allows them to advertise that unsafe
          safety recalls.                                     vehicles with unrepaired safety recalls
                                                              are “safe,” “subject to rigorous inspec-
          In 2017, Massachusetts Public Interest              tions,” “repaired for safety,” and “cer-
          Research Group (MASSPIRG) Education                 tified,” as long as they merely disclose
          Fund and the Consumers for Auto Reliabil-           that the vehicles may have an open
          ity and Safety (CARS) Foundation released           safety recall.86
          “Used Car Roulette,” which found that
          more than a quarter of used cars had unre-       • The Federal Trade Commission should
          paired safety recalls at CarMax dealerships        prohibit AutoNation and other dealers
          across Massachusetts, Connecticut and              from engaging in deceptive and unfair
          California.84                                      practices, such as advertising its used
                                                             vehicles as “worry free” and high-quality
          Two years later, consumers are still at risk       when they have unrepaired safety recalls.
          of buying an unsafe, recalled used vehicle.
          Our analysis found 285 used vehicles for         • State attorneys general should investi-
          sale at AutoNation dealerships that had un-        gate AutoNation and other dealers who
          repaired recalls, more than 1 in 9 of all used     engage in such practices, and enforce
          vehicles on the surveyed lots. Previous in-        existing state laws that prohibit them
          vestigations and reporting have uncovered          from selling unsafe, unrepaired recalled
          similar problems at other dealerships across       vehicles to the motoring public.
          the country.85
                                                           • AutoNation should honor the commit-
          Consumers deserve used or “pre-owned”              ment it made in 2015 and re-institute its
          cars that are safe and free of unrepaired          former policy of not selling used cars
          safety recalls.                                    with unrepaired recalls. Dealerships
                                                             across the country should follow suit,
          Auto dealers should not sell unrepaired            and implement policies that prevent the
          recalled used cars to consumers. To help ad-       sale of used vehicles with unrepaired
          dress the risks posed by AutoNation’s sales        safety recalls.
          of unsafe recalled vehicles to consumers:
                                                           For consumers
          Policy recommendations
                                                           • As long as dealers continue to sell vehi-
          • The U.S. District Court in Washington,           cles with unrepaired recalls, consumers
            D.C., should grant the relief requested          should investigate any used vehicle
            by Consumers for Auto Reliability                they plan on purchasing to make sure
            and Safety, U.S. PIRG, and the Cen-              that it does not contain unrepaired re-
            ter for Auto Safety, and overturn the            calls. If the vehicle does have an unre-
            Federal Trade Commission’s consent               paired recall, consumers should refuse


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   to buy it until it has been repaired by         able to fix the recall, insist on getting a
   the seller at an authorized dealership.         safe loaner or rental vehicle from the
                                                   manufacturer.
• If you recently purchased a used car,
  you should look up the Vehicle Identi-        • Consumers or surviving family mem-
  fication Number (VIN) at www.safecar.           bers harmed by dealers who sold unre-
  gov. If there is an unrepaired recall, go       paired recalled used cars should consult
  to any of the manufacturer’s authorized         an attorney in their state who specializes
  dealerships to have it fixed.                   in representing consumers in auto war-
                                                  ranty and auto fraud litigation.
• If you own a vehicle that is subject to a
  safety recall, and the parts are not avail-




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          Consumer tip: Finding safety
          recall information
          IF YOU ARE SHOPPING FOR A CAR,                2. Visit www.safercar.gov. Click “Search
          check the safety recall status before you        for Recalls by VIN” and then type in
          buy and insist that the repair is done           your VIN. If the recall notice says that
          before the sale is final. Don’t gamble that      the recall is “incomplete,” it has not yet
          you will have time to get it repaired after      been repaired, according to the manu-
          purchase. Some people and their families         facturer.
          have been killed within hours of when a
          dealer handed them the keys to an un-         To get recall repairs on your vehicle, con-
          safe car. 87 Further, in some cases, there    tact any new car dealer selling that brand/
          will be no available fix for the recall for   model of vehicle. If there are no parts
          a long time due to parts shortages and        available, then insist on the manufacturer
          other delays.                                 providing you with a safe loaner or rental
                                                        car while you wait for the repairs. Dou-
          To check if a vehicle has an unrepaired       ble-check the VIN of the loaner or rental
          safety recall:                                car to make sure that it doesn’t also have an
                                                        unrepaired safety recall.
          1. Find the Vehicle Identification Num-
             ber (VIN), which is visible through the    Consumers can also call the manufacturer’s
             windshield on the driver’s side of the     toll-free number to find out the safety recall
             dashboard or on a sticker on the driver    status of their vehicle or contact a local deal-
             doorjamb.                                  ership for that brand and ask them to check.




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Methodology
FOR EACH AUTONATION DEALERSHIP                                        tration (NHTSA). After the VIN is entered,
included in this survey, each used car was                            the tool reports “incomplete” (unrepaired)
assessed based on the inventory available                             safety recalls, as well as incomplete recalls
through the AutoNation dealership web-                                flagged with “remedy not yet available”
site. Each used car was viewed individually                           pending for that specific vehicle. For each
online and its features recorded, including                           recall, we recorded relevant details includ-
the Vehicle Identification Number (VIN)                               ing a NHTSA recall identification number,
and whether it was “certified.” To identify                           the date the recall was issued, and a de-
which of these vehicles were subject to                               scription of the problem, as well as identify-
federal safety recalls, vehicles were checked                         ing information, including year, make and
using the safety recall lookup tool on www.                           model. Surveys were conducted for Auto-
safercar.gov, a website provided by the                               Nation dealerships on the following dates
National Highway Traffic Safety Adminis-                              using the web addresses indicated below:


* Since the survey was completed, two of the dealerships surveyed – AutoNation Mitsubishi Houston and AutoNation Nissan
  Lewisville – have ceased to be AutoNation dealerships. AutoNation Mitsubishi Houston is now closed, and AutoNation Nissan
  Lewisville is no longer under AutoNation management.



 Dealership Name                         State   Date of Survey   Website

 AutoNation INFINITI Tustin               CA      7/22/2019       https://www.autonation.com/cars-for-sale/infiniti-tustin-ca

 AutoNation Chevrolet Valencia            CA      7/22/2019       https://www.autonation.com/cars-for-sale/chevrolet-valencia-ca

 AutoNation Mitsubishi Houston            TX      7/25/2019       https://www.autonation.com/cars-for-sale/mitsubishi-houston-tx
 (Dealership has closed since survey )


 AutoNation Ford Bradenton                FL      7/25/2019       https://www.autonation.com/cars-for-sale/ford-bradenton-fl

 AutoNation Lincoln Clearwater            FL      7/25/2019       https://www.autonation.com/cars-for-sale/lincoln-clearwater-fl

 AutoNation USA Houston                   TX      7/25/2019       https://www.autonation.com/cars-for-sale/usa-houston-tx-77037

 AutoNation Chrysler Jeep West            CO      7/26/2019       https://www.autonation.com/cars-for-sale/chrysler-jeep-west-co

 AutoNation Subaru Arapahoe               CO      7/26/2019       https://www.autonation.com/cars-for-sale/subaru-arapahoe-co

 AutoNation Hyundai 104                   CO      7/28/2019       https://www.autonation.com/cars-for-sale/hyundai-104-co

 AutoNation Honda O'Hare                  IL      7/29/2019       https://www.autonation.com/cars-for-sale/honda-ohare

 AutoNation Toyota Hayward                CA      7/29/2019       https://www.autonation.com/cars-for-sale/toyota-hayward-ca

 AutoNation Honda Fremont                 CA      7/29/2019       https://www.autonation.com/cars-for-sale/honda-fremont-ca




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          Dealership Name                        State   Date of Survey   Website

          AutoNation Toyota Libertyville          IL      7/29/2019       https://www.autonation.com/cars-for-sale/toyota-libertyville-il

          AutoNation Nissan Tempe                 AZ      7/29/2019       www.autonation.com/cars-for-sale/nissan-tempe-az

          AutoNation USA Phoenix                  AZ      7/30/2019       https://www.autonation.com/cars-for-sale/usa-phoenix-az-85023

          AutoNation Nissan Lewisville            TX      7/30/2019       https://www.autonation.com/cars-for-sale/nissan-lewisville-tx
          (No longer an AutoNation dealership)


          AutoNation Ford South Fort Worth        TX      7/30/2019       https://www.autonation.com/cars-for-sale/ford-south-fort-worth-tx

          AutoNation Chevrolet Doral              FL      7/31/2019       https://www.autonation.com/cars-for-sale/chevrolet-doral

          AutoNation Cadillac West                FL      7/31/2019       https://www.autonation.com/cars-for-sale/cadillac-west-palm-beach
          Palm Beach

          AutoNation Honda Dulles                 VA      7/31/2019       https://www.autonation.com/cars-for-sale/honda-dulles-va

          AutoNation Chevrolet Laurel            MD        8/1/2019       https://www.autonation.com/cars-for-sale/chevrolet-laurel-md

          AutoNation Nissan Marietta              GA       8/1/2019       https://www.autonation.com/cars-for-sale/nissan-marietta-ga

          AutoNation Honda Renton                WA        8/1/2019       https://www.autonation.com/cars-for-sale/honda-renton-wa

          AutoNation Ford Lincoln                 TN       8/1/2019       https://www.autonation.com/cars-for-sale/ford-wolfchase
          Wolfchase

          AutoNation Toyota Mall of               GA       8/1/2019       https://www.autonation.com/cars-for-sale/toyota-mall-of-georgia-ga
          Georgia

          AutoNation Chrysler Dodge Jeep          TN       8/2/2019       https://www.autonation.com/cars-for-sale/chrysler-dodge-
          Ram and Fiat Johnson City                                       jeep-ram-fiat-johnson-city-tn

          AutoNation Subaru Spokane              WA       8/14/2019       https://www.autonation.com/cars-for-sale/subaru-spokane-
          Valley                                                          valley-wa

          AutoNation Ford Westlake                OH      8/15/2019       https://www.autonation.com/cars-for-sale/ford-westlake-oh




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Appendix
TABLE A-1. FULL LIST OF RECALLED VEHICLES FOUND IN 2019 SURVEY
For vehicles with multiple unrepaired safety recalls, that vehicle appears on multiple lines, with
one line per recall found, and each of the recalls numbered. See Methodology for details, including
on survey dates and locations. Recall safety risk language from NHTSA.gov/recalls, edited in some
cases for clarity.

 AutoNation       VIN                                          NHTSA
 Location     (Last 4 Digits)   Year     Make      Model       Recall #   Safety Risk

 California

 INFINITI         6731          2015   INFINITI     Q50        16V-244    Failure of the passenger airbag to deploy during a crash (where deployment is
 Tustin                                            Sedan                  warranted) could increase the risk of injury to the passenger.

 INFINITI         3516          2012   Mercedes-   C250W       17V017     Your passenger-side airbag is affected by this recall based on the defect decision of TK
 Tustin                                  Benz                             Holdings, Inc. (Takata). Under certain circumstances during a crash that necessitates
                                                                          frontal airbag deployment, the defect in your passenger-side airbag inflator may cause
                                                                          the airbag to explode during deployment and could result in sharp metal fragments
                                                                          striking the driver or other occupants, possibly causing serious injury or death.

 INFINITI         7655          2014    Toyota     Sienna      19V005     In the event of an inflator explosion, metal fragments could pass through the airbag
 Tustin                                                                   cushion material, striking the vehicle occupants, and result in serious injury or death.
                                                                          (Takata Airbag Recall)

 INFINITI         1897          2016     Volvo     XC90 II     19V308     Volvo Car USA LLC and Volvo Car Canada LTD (Volvo) on behalf of Volvo Car Group
 Tustin                                                                   has decided to launch Recall R29936 on model year 2016 XC90 vehicles. Volvo has
                                                                          identified that the coolant bleeder hose (engine side) may degrade over time and crack
                                                                          due to heat and humidity load. This condition can create a coolant leak, and also pose
                                                                          a risk of coolant leaking on the catalytic converter. If the coolant leak goes unnoticed,
                                                                          coolant may accumulate in the catalytic converter heatshield insulation and, in a worst
                                                                          case scenario, over time this might result in a fire in the engine compartment area when
                                                                          the vehicle is stationary.

 Chevrolet        0682          2015     Audi        Q5        18V229     The electric (after-run) coolant pump may short circuit and/or overheat, potentially
 Valencia                                                                 leading to a vehicle fire.

 Chevrolet        3154          2017     Ford      Explorer    19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
 Valencia                                                                 of a crash.

 Chevrolet        3637          2014     Ford      Escape      16V643     A door latch with a fractured pawl spring tab typically results in a "door will not close"
 Valencia                                                                 condition. A door that opens while driving increases the risk of injury.

 Chevrolet        3654          2014     Ford      Explorer    19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
 Valencia                                                                 of a crash.

 Chevrolet        9936          2013     Ford       Focus      18V735     If the canister purge valve (CPV) malfunctions and sticks open, it can lead to excessive
 Valencia                                                                 vacuum in the fuel vapor system, potentially deforming the plastic fuel tank. This can
                                                                          cause the following symptoms: illuminated malfunction indicator lamp (MIL) with
                                                                          certain diagnostic trouble codes (DTCs) inaccurate or erratic fuel gauge indication
                                                                          inaccurate distance to empty (DTE) engine stall and/or other drivability concerns
                                                                          related to stuck open CPV. … This may result in an engine stall while driving without
                                                                          warning or without the ability to restart, and can increase the risk of a crash.

 Chevrolet        5367          2012     Ford       F-150     AWAITING#   An unintended downshift into first gear can cause an abrupt wheel speed reduction,
 Valencia                                                                 which could cause the rear tires to slide until the vehicle speed slows down. This
                                                                          condition could result in a loss of vehicle control, increasing the risk of a crash.

 Chevrolet        9836          2005     Ford       F-150     11V107000   The driver side frontal air bag could inadvertently deploy increasing the risk of injury or
 Valencia                                                                 loss of vehicle control if occurring while in motion.

 Chevrolet        2234          2013   Mercedes-   C250W       18V043     Your passenger-side airbag is affected by this recall based on the defect decision of TK
 Valencia                                Benz                             Holdings, Inc. (Takata). Under certain circumstances during a crash that necessitates
                                                                          frontal airbag deployment, the defect in your passenger-side airbag inflator may cause
                                                                          the airbag to explode during deployment and could result in sharp metal fragments
                                                                          striking the driver or other occupants, possibly causing serious injury or death.



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 AutoNation       VIN                                            NHTSA
 Location     (Last 4 Digits)   Year     Make        Model       Recall #   Safety Risk

 Toyota           0558          2016   Volkswagen    Passat      19V389     Incorrectly adjusted headlights may result in reduced visibility (for the driver and other
 Hayward                                                                    motorists) which could increase the risk of a crash.

 Toyota           3418          2016     Ford        Fusion      18V167     The steering wheel may separate from the steering column if the steering wheel
 Hayward                                                                    attachment bolt loosens over time. … This may increase the risk of a crash while
                                                                            driving.

 Toyota           3418          2016     Ford        Fusion      18V471     On your vehicle, the bushing in the transmission shifter cable may degrade over
 Hayward                                                                    time. This may cause the transmission shifter cable to not be able to fully move the
                                                                            transmission to the selected gear position. … If the driver attempts to shift to park in
                                                                            this condition, the transmission may not be in the park position even though the shifter
                                                                            position indicates the vehicle is in park, and the transmission not in park warning may
                                                                            not appear. This could result in unintended vehicle movement, increasing the risk of
                                                                            injury or crash.

 Toyota           0612          2016    Mazda       Mazda3       19V-722    On certain Mazda3 vehicles, the front windshield wipers may become inoperative due
 Hayward                                                                    to a defective relay located inside the Front Body Control Module (F-BCM) that disrupts
                                                                            electrical power to the wiper motor. Drivers may experience reduced or poor visibility
                                                                            while driving due to inoperative front windshield wipers, increasing a risk of crash.

 Toyota           6453          2015     Ford       Mustang      16V643     A door latch with a fractured pawl spring tab typically results in a "door will not close"
 Hayward                                                                    condition. A door that opens while driving increases the risk of injury.

 Toyota           3426          2015   Volkswagen    Passat      19V014     The driver airbag may explode in a crash with airbag deployment. … Sharp metal
 Hayward                                                                    fragments can hit people and cause serious injury or death. (Takata Airbag Recall)

 Toyota           3426          2015   Volkswagen    Passat      19V389     Incorrectly adjusted headlights may result in reduced visibility (for the driver and other
 Hayward                                                                    motorists) which could increase the risk of a crash.

 Toyota           4431          2014    Subaru      Forester    19V149000   Depending on the model, the brake lamp switch functions affected may include: brake
 Hayward                                                                    lamp illumination, transmission interlock (shifting from park), ignition interlock (push-
                                                                            button ignition start), anti-lock brake system (ABS) functionality, vehicle dynamics
                                                                            control (VDC) functionality, and/or Eyesight operation. If the vehicle experiences a loss
                                                                            in function, as described, any of the associated warning light(s) will illuminate. If the
                                                                            brake lamps do not illuminate properly, a trailing vehicle may be unable to recognize the
                                                                            braking operation, which may increase the risk of a rear-end collision.

 Toyota           0249          2013     Ford        F-150      AWAITING#   An unintended downshift into first gear can cause an abrupt wheel speed reduction,
 Hayward                                                                    which could cause the rear tires to slide until the vehicle speed slows down. This
                                                                            condition could result in a loss of vehicle control, increasing the risk of a crash.

 Toyota           4583          2013     Ford       Mustang      19V001     The passenger frontal airbag inflator could rupture if the vehicle is involved in a crash
 Hayward                                                                    where the supplemental frontal airbags are designed to deploy. If an inflator ruptures
                                                                            metal fragments could enter the passenger compartment increasing the risk of injury or
                                                                            death to occupants. (Takata Airbag Recall)

 Toyota           5486          2013    Toyota        Prius      18V684     The involved vehicles were designed to enter a failsafe driving mode in response to
 Hayward                                                                    certain hybrid system faults. Toyota has found that in rare situations, the vehicle may
                                                                            not enter a failsafe driving mode as intended. … If this occurs, the vehicle could lose
                                                                            power and stall. While power steering and braking would remain operational, a vehicle
                                                                            stall while driving at higher speeds could increase the risk of a crash.

 Toyota           4047          2012     Dodge       Grand       17V-376    The wire harness may rub through the wire insulation creating a short which could
 Hayward                                            Caravan                 result in an inadvertent driver airbag deployment. This condition could increase the risk
                                                                            of a crash and/or injury to vehicle occupants.

 Toyota           8513          2011     Jeep       Wrangler     14V-631    A resistive bridge between the power and ground electrical terminals in the heated
 Hayward                                            Unlimited               power mirror connector(s) could cause an electrical fire without warning.

 Toyota           5182          2011   Chevrolet    Silverado    16V381     The propellant in some types of Takata airbag inflators can degrade over time,
 Hayward                                              1500                  especially after long term exposure in hot and humid regions. If the propellant degrades
                                                                            to a certain level, the inflators may rupture during deployment, causing serious or fatal
                                                                            injuries.

 Toyota           4988          2009    Nissan      Murano       18V-916    If one of the four normally closed (NC) valves remains open, fluid may enter into an
 Hayward                                                                    accumulator. This additional fluid may have the net effect of causing brake pedal travel
                                                                            to increase a small amount, however enough stroke remains in the pedal to generate
                                                                            sufficient braking force. Although the hydraulic braking system remains intact and
                                                                            full braking force is maintained once the pedal travels the additional distance, if the
                                                                            condition occurs, the initial increase in brake pedal travel could result in increased
                                                                            stopping distance.




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AutoNation       VIN                                          NHTSA
Location     (Last 4 Digits)   Year     Make       Model      Recall #   Safety Risk

Honda            9414          2017     MINI      Clubman     17V222     The brake lamps do not conform to a Federal requirement. When a turn signal is
Fremont                                                                  activated, the outer section of each brake lamp remains illuminated, but the inner
                                                                         section is no longer illuminated. … A driver behind an affected vehicle could be
                                                                         confused which could increase the risk of a crash.

Honda            5069          2016    Honda        Civic     16V-526    An inoperative tail lamp may reduce your vehicle's visibility in traffic, increasing the risk
Fremont                                            Coupe                 of a crash.

Honda            4370          2016     BMW         X1        19V349     A vertical trim piece on the inside of the vehicle, between the front and rear doors, may
Fremont                                                                  marginally exceed a Federal requirement for an unbelted compliance test. … In a severe
                                                                         accident, this could increase the risk of injury to the rear seat passengers if they are
                                                                         unbelted.

Honda            2757          2016     BMW         X1        19V349     A vertical trim piece on the inside of the vehicle, between the front and rear doors, may
Fremont                                                                  marginally exceed a Federal requirement for an unbelted compliance test. … In a severe
                                                                         accident, this could increase the risk of injury to the rear seat passengers if they are
                                                                         unbelted.

Honda            6879          2016    Honda        Civic     16V-725    The inability to apply the electric parking brake can result in vehicle rollaway, increasing
Fremont                                            Sedan                 the risk of a crash.

Honda            9838          2016     BMW         X1        19V349     A vertical trim piece on the inside of the vehicle, between the front and rear doors, may
Fremont                                                                  marginally exceed a Federal requirement for an unbelted compliance test. … In a severe
                                                                         accident, this could increase the risk of injury to the rear seat passengers if they are
                                                                         unbelted.

Honda            2015          2015     Ford       Focus      18V592     If the charge cord becomes overheated, it may cause burns, property damage, or
Fremont                                           Electric               charge cord damage, and can increase the risk of fire.

Honda            9754          2013     Ford       F-150     AWAITING#   An unintended downshift into first gear can cause an abrupt wheel speed reduction,
Fremont                                                                  which could cause the rear tires to slide until the vehicle speed slows down. This
                                                                         condition could result in a loss of vehicle control, increasing the risk of a crash.

Honda            8889          2013     Ford       Fusion     19V362     On your vehicle, the bushing in the transmission shifter cable may degrade over
Fremont                                                                  time. This may cause the transmission shifter cable to not be able to fully move the
                                                                         transmission to the selected gear position. … If the driver attempts to shift to park in
                                                                         this condition, the transmission may not be in the park position even though the shifter
                                                                         position indicates the vehicle is in park, and the transmission not in park warning may
                                                                         not appear. This could result in unintended vehicle movement, increasing the risk of
                                                                         injury or crash.

Honda            6713          2011   Mercedes-   GL-Class    16V081     According to Takata, in the event of an inflator rupture, metal fragments could pass
Fremont                                 Benz                             through the air bag cushion material, which may result in injury or death to vehicle
                                                                         occupants.

Honda            4712          2011   Mercedes-   C-Class     16V081     According to Takata, in the event of an inflator rupture, metal fragments could pass
Fremont                                 Benz                             through the air bag cushion material, which may result in injury or death to vehicle
                                                                         occupants.

Honda            4712          2011   Mercedes-   C-Class     16V363     According to Takata, in the event of an inflator rupture, metal fragments could pass
Fremont                                 Benz                             through the air bag cushion material, which may result in injury or death to vehicle
                                                                         occupants.

Honda            3424          2008    Honda        Civic     16V-346    In the event of a passenger frontal airbag inflator rupture, metal fragments could pass
Fremont                                            Hybrid                through the airbag cushion material, potentially resulting in injury to vehicle occupants.
                                                                         The risk of such an occurrence increases over time. It is imperative you schedule an
                                                                         appointment with an authorized Honda dealer now to avoid this condition in the future.
                                                                         (Takata Airbag Recall)

Honda            4712          2006    Honda       Pilot      16V-344    In the event of a passenger frontal airbag inflator rupture, metal fragments could pass
Fremont                                                                  through the airbag cushion material, potentially resulting in injury to vehicle occupants.
                                                                         The risk of such an occurrence increases over time. It is imperative you schedule an
                                                                         appointment with an authorized Honda dealer now to avoid this condition in the future.
                                                                         (Takata Airbag Recall)

Honda            9532          2004    Toyota     Sienna      09V023     In the event the retention clip used to secure the floor carpet cover is missing, the cover
Fremont                                                                  can interfere with the operation of the accelerator pedal if the acceleration pedal is
                                                                         depressed to nearly the full throttle position. … If this occurs, the accelerator pedal can
                                                                         become stuck which could result in a vehicle crash.




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 AutoNation       VIN                                            NHTSA
 Location     (Last 4 Digits)   Year    Make         Model       Recall #   Safety Risk

 Honda            7365          2004    Lexus       RX 330       11V112     If the forward retention clip used to secure the floor carpet cover, which is located in
 Fremont                                                                    front of the center console, is not installed properly the cover may lean toward the
                                                                            accelerator pedal and interfere with the accelerator pedal arm. … If this occurs, the
                                                                            accelerator pedal may temporarily become stuck in a partially depressed position rather
                                                                            than return to the idle position. A stuck accelerator pedal may result in unintended and
                                                                            sustained vehicle speeds and make it difficult to stop, increasing the risk of a vehicle
                                                                            crash.

 Honda            0497          2002    Honda         Civic      19V-501    In the event of a passenger frontal airbag inflator rupture, metal fragments could pass
 Fremont                                             Sedan                  through the airbag cushion material, potentially resulting in injury to vehicle occupants.
                                                                            The risk of such an occurrence increases over time. It is imperative you schedule an
                                                                            appointment with an authorized Honda dealer now to avoid this condition in the future.
                                                                            (Takata Airbag Recall)

 Honda            5714          2000    Nissan       Xterra      04V-230    If corrosion occurs, the terminal strip could eventually break causing the fuel pump to
 Fremont                                                                    stop operation. This will result in not being able to start the engine or cause the engine
                                                                            to stop running without warning, which can result in a crash.

 Florida

 Ford             9343          2010   Chevrolet     Tahoe       16V381     The propellant in some types of Takata airbag inflators can degrade over time,
 Bradenton                                                                  especially after long term exposure in hot and humid regions. If the propellant degrades
                                                                            to a certain level, the inflators may rupture during deployment, causing serious or fatal
                                                                            injuries.

 Ford             2873          2017     Ford        Focus       19V515     If the canister purge valve (CPV) malfunctions and sticks open, it can lead to excessive
 Bradenton                                                                  vacuum in the fuel vapor system, potentially deforming the plastic fuel tank. This can
                                                                            cause the following symptoms: illuminated malfunction indicator lamp (MIL) with
                                                                            certain diagnostic trouble codes (DTCs) inaccurate or erratic fuel gauge indication
                                                                            inaccurate distance to empty (DTE) engine stall and/or other drivability concerns
                                                                            related to stuck open CPV. … This may result in an engine stall while driving without
                                                                            warning or without the ability to restart, and can increase the risk of a crash.

 Ford             9836          2017     Ford       Escape       16V617     If the window closing force exceeds the regulatory requirement, it could increase the
 Bradenton                                                                  risk of injury.

 Ford             8761          2017     Ford        F-150       18V568     A fire in the b-pillar area may spread within the vehicle and increase the risk of injury.
 Bradenton                                                                  You may notice odor and/or smoke as the fire develops.

 Ford             2642          2016     Ford       Explorer     19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
 Bradenton                                                                  of a crash.

 Ford             1624          2014     Ford        Fiesta      17V209     A cylinder head crack may cause an oil leak that may result in a fire in the engine
 Bradenton                                                                  compartment.

 Ford             5823          2008    Lexus       ES 350       16V340     In the event of an inflator explosion, metal fragments could pass through the airbag
 Bradenton                                                                  cushion material, striking the vehicle occupants, and result in serious injury or death.
                                                                            (Takata Airbag Recall)

 Ford             4793          2013    Toyota      Corolla      18V024     In the event of an inflator explosion, metal fragments could pass through the airbag
 Bradenton                                                                  cushion material, striking the vehicle occupants, and result in serious injury or death.
                                                                            (Takata Airbag Recall)

 Ford             3154          2009    Toyota       Matrix      10V017     The accelerator pedal may become hard to depress, slow to return to idle, or, in the
 Bradenton                                                                  worst case, mechanically stuck in a partially depressed position, increasing the risk of
                                                                            a crash.

 Lincoln          4518          2018    Lincoln    Continental   19V077     In some cases, the door may be closed with an intermittently operative latch, and the
 Clearwater                                                                 door latch may not fully engage. A door latch that is not fully engaged may result in the
                                                                            door opening while driving, increasing the risk of injury.

 Lincoln          4099          2017    Lincoln    Continental   19V077     In some cases, the door may be closed with an intermittently operative latch, and the
 Clearwater                                                                 door latch may not fully engage. A door latch that is not fully engaged may result in the
                                                                            door opening while driving, increasing the risk of injury.

 Lincoln          5351          2011     Kia       Sorrento      13V114     Failure to illuminate the stop lamps during braking or inability to disengage the cruise
 Clearwater                                                                 control could increase the risk of a crash. Additionally, when the ignition is in the on
                                                                            position, the transmission shifter may be able to be moved out of park without first
                                                                            applying the brake. This may lead to unintentional movement of the car which may
                                                                            increase the risk of a crash.

 Lincoln          5351          2011     Kia       Sorrento      15V626     Without requiring the brake to be pressed, the vehicle may be unintentionally shifted out
 Clearwater                                                                 of park, allowing it to roll, which may result in a crash.



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AutoNation       VIN                                          NHTSA
Location     (Last 4 Digits)   Year    Make        Model      Recall #   Safety Risk

Lincoln          1947          2010    Mazda      Mazda6      18V-631    On certain subject vehicles operated in the Salt Belt states, it is possible that the cross
Clearwater                                                               member may be corroded due to suspect insufficient paint coating. Corrosion may be
                                                                         more severe on the portion just under the air conditioner drain causing a perforation. …
                                                                         Continued use of the vehicle with such condition may allow the perforation to progress,
                                                                         and the support of the right lower control arm front bushing to decrease. This may
                                                                         result in a change of the right front wheel alignment. The driver may experience a heavy
                                                                         pull to the right, and in some cases, it is possible that the steering control may become
                                                                         difficult.

Chevrolet        9938          2014     Audi        Q5        17V622     Melting wires may usually lead to an open circuit, but can also lead to overheating
Doral                                                                    which can result in a fire.

Chevrolet        9938          2014     Audi        Q5        17V298     On certain vehicles, the fuel pump flange may develop fine cracks or fissures, which
Doral                                                                    could result in a fuel leak. … Leaking fuel, in the presence of an ignition source, may
                                                                         result in a fire.

Chevrolet        9938          2014     Audi        Q5        18V229     The electric (after-run) coolant pump may short circuit and/or overheat, potentially
Doral                                                                    leading to a vehicle fire.

Chevrolet        9708          2015   Chevrolet    Tahoe      18V586     If electric power steering (EPS) assist is lost and suddenly returned, the driver could
Doral                                                                    have difficulty steering the vehicle, especially at low speeds, increasing the risk of a
                                                                         crash.

Chevrolet        3776          2017    Dodge      Journey     18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
Doral                                                                    speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                         stop the vehicle, this condition can cause a vehicle crash without warning.

Chevrolet        2543          2016     Ford      Explorer    19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
Doral                                                                    of a crash.

Chevrolet        9603          2016     Ford       F-150      17V652     On your vehicle, a frozen door latch, or a bent or kinked door latch actuation cable, may
Doral                                                                    result in a door that will not open, will not close, or opens while driving. … This may
                                                                         result in a latch that may not fully engage the door striker which could cause the door
                                                                         to open while driving, increasing the risk of injury.

Chevrolet        9603          2016     Ford       F-150      18V568     A fire in the b-pillar area may spread within the vehicle and increase the risk of injury.
Doral                                                                    You may notice odor and/or smoke as the fire develops.

Chevrolet        8907          2014     Ford      Explorer    19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
Doral                                                                    of a crash.

Chevrolet        3259          2013     Ford       F-150     AWAITING#   An unintended downshift into first gear can cause an abrupt wheel speed reduction,
Doral                                                                    which could cause the rear tires to slide until the vehicle speed slows down. This
                                                                         condition could result in a loss of vehicle control, increasing the risk of a crash.

Chevrolet        1104          2012     Ford      Explorer    19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
Doral                                                                    of a crash.

Chevrolet        8740          2015     GMC        Yukon      18V586     If electric power steering (EPS) assist is lost and suddenly returned, the driver could
Doral                                                                    have difficulty steering the vehicle, especially at low speeds, increasing the risk of a
                                                                         crash.

Chevrolet        9636          2015     Jeep       Grand      16V-240    Drivers erroneously concluding that their vehicle’s transmission is in the PARK position
Doral                                             Cherokee               may be struck by the vehicle and injured if they attempt to get out of the vehicle while
                                                                         the engine is running and the parking brake is not engaged.

Chevrolet        9636          2015     Jeep       Grand      18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
Doral                                             Cherokee               speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                         stop the vehicle, this condition can cause a vehicle crash without warning.

Chevrolet        9781          2018    Mazda       CX-5       19V-497    Engine damage may occur, resulting in engine stall while driving without ability to be
Doral                                                                    restarted, which may increase the risk of a crash.

Cadillac         4412          2019    Honda      Odyssey     19V-299    Low voltage situations resulting from loose battery terminal connection(s) or a
West Palm                                                                degraded battery could cause the Transmission Control Unit to reboot and shift the
Beach                                                                    transmission to Park. If the transmission shifts to Park while the vehicle is being
                                                                         driven, the parking gear could become damaged and, as a result, be unable to secure a
                                                                         vehicle that is shifted to Park without application of the Electronic Parking Brake. … An
                                                                         unsecured vehicle may move unexpectedly, increasing the risk of a crash or personal
                                                                         injury without prior warning.

Cadillac         3996          2011   Hyundai      Sonata    17V617000   If the seat belt linkage detaches from the seat belt anchorage, it cannot properly
West Palm                                                                restrain the occupant in the event of a crash, increasing the risk of injury.
Beach


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 AutoNation       VIN                                          NHTSA
 Location     (Last 4 Digits)   Year     Make       Model      Recall #   Safety Risk

 Cadillac         3996          2011   Hyundai     Sonata     18V137000   If the frontal air bags, seat belt pretensioners, and side air bags are disabled, there is
 West Palm                                                                an increased risk of injury to the vehicle occupants in the event of a vehicle crash that
 Beach                                                                    necessitates deployment of these safety systems.

 Cadillac         9929          2014   Mercedes-     GLK       19V010     According to Takata, in the event of an inflator explosion, metal fragments could pass
 West Palm                               Benz                             through the air bag cushion material, which may result in injury or death to vehicle
 Beach                                                                    occupants.

 Cadillac         4761          2015    Nissan     Murano      18V-601    In certain vehicles affected by this recall, the anti-lock brake system (ABS) actuator
 West Palm                                                                may leak brake fluid. If this occurs, the ABS warning lamp will illuminate and remain
 Beach                                                                    continually illuminated on the instrument panel. … If this condition is ignored, the leak
                                                                          can potentially create an electrical short, and in rare instances, may lead to a fire.

 Colorado

 Chrysler         4233          2018   Chevrolet     Trax      19V312     If a lower-control arm partially separates from the vehicle, the front wheel attached
 Jeep West                                                                to the control arm will toe outward, adversely affecting the vehicle’s steering and
                                                                          potentially causing the tire to rub against the wheel well, increasing the risk of a crash.

 Chrysler         4631          2006    Dodge       Ram        09E-001    The drag link inner joint may fracture under certain driving conditions. This could result
 Jeep West                                                                in a loss of steering control and cause a crash without warning. This could allow the
                                                                          bracket to slide on the tube and may cause increased vehicle turning radius.

 Chrysler         4631          2006    Dodge       Ram        13V-528    The left tie rod ball stud on the Mopar service parts steering linkage may fracture under
 Jeep West                                                                certain driving conditions. … This could cause a loss of directional control and/or a
                                                                          crash without warning.

 Chrysler         4631          2006    Dodge       Ram        15V-313    An inflator rupture, during airbag deployment events, could result in metal fragments
 Jeep West                                                                striking and potentially seriously injuring the vehicle occupant(s). (Takata Airbag Recall)

 Chrysler         4631          2006    Dodge       Ram        16V-352    An inflator rupture, during airbag deployment events, could result in metal fragment(s)
 Jeep West                                                                striking the vehicle occupant(s) resulting in serious injury or death. (Takata Airbag
                                                                          Recall)

 Chrysler         8953          2013     Ford       F-150     AWAITING#   An unintended downshift into first gear can cause an abrupt wheel speed reduction,
 Jeep West                                                                which could cause the rear tires to slide until the vehicle speed slows down. This
                                                                          condition could result in a loss of vehicle control, increasing the risk of a crash.

 Chrysler         5072          2012     Ford       Focus      16V643     A door latch with a fractured pawl spring tab typically results in a "door will not close"
 Jeep West                                                                condition. A door that opens while driving increases the risk of injury.

 Chrysler         5072          2012     Ford       Focus      18V735     If the canister purge valve (CPV) malfunctions and sticks open, it can lead to excessive
 Jeep West                                                                vacuum in the fuel vapor system, potentially deforming the plastic fuel tank. This can
                                                                          cause the following symptoms: illuminated malfunction indicator lamp (MIL) with
                                                                          certain diagnostic trouble codes (DTCs) inaccurate or erratic fuel gauge indication
                                                                          inaccurate distance to empty (DTE) engine stall and/or other drivability concerns
                                                                          related to stuck open CPV. … This may result in an engine stall while driving without
                                                                          warning or without the ability to restart, and can increase the risk of a crash.

 Chrysler         8091          2012     Ford      Explorer    19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
 Jeep West                                                                of a crash.

 Chrysler         9354          2013   Hyundai     Elantra    17V769000   If the brake light switch plunger does not retract as it should when the brake pedal
 Jeep West                                                                is not being pressed, the brake lights may stay illuminated preventing accurate
                                                                          communication to following vehicles that the vehicle is slowing or stopping.
                                                                          Additionally, if the brake switch plunger is not retracted, then the transmission can be
                                                                          shifted out of park without depressing the brake pedal. Either condition increases the
                                                                          risk of a crash.

 Chrysler         5375          2013    Infiniti    JX35       16V-244    Failure of the passenger airbag to deploy during a crash (where deployment is
 Jeep West                                                                warranted) could increase the risk of injury to the passenger.

 Chrysler         7810          2016     Jeep      Wrangler    16V-734    Vehicles may experience no airbag and pretensioner deployment in certain crash
 Jeep West                                                                events. Failure to have airbag deployment when required during a crash event could
                                                                          increase the risk of injury or death to front seat occupants.

 Chrysler         7810          2016     Jeep      Wrangler    19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
 Jeep West                                                                into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                          occupants. (Takata Airbag Recall)

 Chrysler         5223          2015     Jeep      Wrangler    19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
 Jeep West                                                                into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                          occupants. (Takata Airbag Recall)



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AutoNation       VIN                                           NHTSA
Location     (Last 4 Digits)   Year     Make        Model      Recall #   Safety Risk

Chrysler         2213          2015     Jeep       Wrangler    19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
Jeep West                                                                 into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                          occupants. (Takata Airbag Recall)

Chrysler         1459          2015     Jeep       Wrangler    19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
Jeep West                                                                 into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                          occupants. (Takata Airbag Recall)

Chrysler         3057          2015     Jeep       Wrangler    19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
Jeep West                                                                 into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                          occupants. (Takata Airbag Recall)

Chrysler         0009          2010     Jeep       Wrangler    16V-290    Dust inside the clockspring could compromise airbag circuit(s), causing illumination of
Jeep West                                                                 the airbag warning light and/or the potential for a non-deployment of the driver airbag
                                                                          during a crash.

Chrysler         0009          2010     Jeep       Wrangler    19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
Jeep West                                                                 into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                          occupants. (Takata Airbag Recall)

Chrysler         0981          2010     Jeep       Wrangler    19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
Jeep West                                                                 into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                          occupants. (Takata Airbag Recall)

Chrysler         8662          2007     Jeep       Commander   14V-438    Some Jeep Commander and Jeep Grand Cherokee vehicles may experience an
Jeep West                                                                 unintended change in ignition switch position while driving. … This may result in loss
                                                                          of engine power, power steering, and braking assist increasing the risk of a crash and
                                                                          disabling one or more of the vehicles safety features including the frontal airbags.

Chrysler         9765          2009      Kia        Borrego    12V245     Certain pedal mounts may have a fiberglass composition that allows them to break off in
Jeep West                                                                 a collision where the impact has not immobilized the vehicle, which would then allow the
                                                                          vehicle to roll. … If this occurs, the driver would need to stop the vehicle with the parking
                                                                          brake or experience a possible second impact, increasing the risk of personal injury.

Chrysler         9765          2009      Kia        Borrego    13V114     Failure to illuminate the stop lamps during braking or inability to disengage the cruise
Jeep West                                                                 control could increase the risk of a crash. Additionally, when the ignition is in the "on"
                                                                          position, the transmission shifter may be able to be moved out of park without first
                                                                          applying the brake. This may lead to unintentional movement of the car which may
                                                                          increase the risk of a crash.

Chrysler         1126          2012   Mercedes-      C63C      17V017     Your passenger-side airbag is affected by this recall based on the defect decision of TK
Jeep West                               Benz                              Holdings, Inc. (Takata). Under certain circumstances during a crash that necessitates
                                                                          frontal airbag deployment, the defect in your passenger-side airbag inflator may cause
                                                                          the airbag to explode during deployment and could result in sharp metal fragments
                                                                          striking the driver or other occupants, possibly causing serious injury or death.

Chrysler         1815          2016   Mitsubishi   Outlander   17V609     If the relay for the engine control unit fails, the engine will stall while driving and cannot
Jeep West                                                                 be restarted. If the relay for the engine valve lift control fails, the engine warning lamp
                                                                          will illuminate and fail-safe mode will be activated, limiting available engine power. If
                                                                          the relay for the radiator fan fails, the engine coolant temperature will rise, the coolant
                                                                          temperature warning lamp will illuminate, and the engine may overheat. … An engine
                                                                          stall while driving can increase the risk of an accident.

Chrysler         9928          2015    Nissan       Rogue      16V-244    Failure of the passenger airbag to deploy during a crash (where deployment is
Jeep West                                                                 warranted) could increase the risk of injury to the passenger.

Chrysler         3803          2016    Toyota      4Runner     19V005     In the event of an inflator explosion, metal fragments could pass through the airbag
Jeep West                                                                 cushion material, striking the vehicle occupants, and result in serious injury or death.
                                                                          (Takata Airbag Recall)

Chrysler         6812          2010    Toyota        Rav4      15V577     The windshield wipers could become inoperative, which could reduce driver visibility
Jeep West                                                                 and increase the risk of a vehicle crash.

Chrysler         6812          2010    Toyota        Rav4      16V596     If the nuts for adjusting rear wheel alignment were improperly tightened when an
Jeep West                                                                 alignment was performed, rust could form on suspension arm threads. … If this occurs,
                                                                          and if the condition is not identified and remedied during servicing or repair under
                                                                          the existing remedy procedure, the threads can wear over time, causing the arm to
                                                                          separate, which could result in a loss of vehicle control.

Chrysler         6812          2010    Toyota        Rav4      16V096     There is a possibility that, in the event of a very severe frontal crash, the lap belt
Jeep West                                                                 webbing could contact a portion of the metal seat cushion frame, become cut, and
                                                                          separate. … If this occurs, the seat belt may not properly restrain the occupant, which
                                                                          could increase the risk of injury.



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 AutoNation       VIN                                        NHTSA
 Location     (Last 4 Digits)   Year   Make      Model       Recall #   Safety Risk

 Subaru           5158          2010   Honda      CR-V       18V-661    In the event of a passenger frontal airbag inflator rupture, metal fragments could pass
 Arapahoe                                                               through the airbag cushion material, potentially resulting in injury to vehicle occupants.
                                                                        The risk of such an occurrence increases over time. It is imperative you schedule an
                                                                        appointment with an authorized Honda dealer now to avoid this condition in the future.
                                                                        (Takata Airbag Recall)

 Subaru           8426          2005   Jeep      Liberty     18V-278    A broken rear suspension lower control arm could cause a loss of vehicle control and
 Arapahoe                                                               cause a crash.

 Subaru           2112          2012    Kia      Optima      18V363     If the ASIC becomes damaged, the frontal airbags and seatbelt pretensioners may
 Arapahoe                                                               not deploy in certain frontal crashes where deployment may be necessary, thereby
                                                                        increasing the risk of injury.

 Subaru           8147          2017   Subaru   Crosstrek   19V149000   Depending on the model, the brake lamp switch functions affected may include: brake
 Arapahoe                                                               lamp illumination, transmission interlock (shifting from park), ignition interlock (push-
                                                                        button ignition start), anti-lock brake system (ABS) functionality, vehicle dynamics
                                                                        control (VDC) functionality, and/or Eyesight operation. If the vehicle experiences a loss
                                                                        in function, as described, any of the associated warning light(s) will illuminate. If the
                                                                        brake lamps do not illuminate properly, a trailing vehicle may be unable to recognize the
                                                                        braking operation, which may increase the risk of a rear-end collision.

 Subaru           7504          2016   Subaru   Forester    19V149000   Depending on the model, the brake lamp switch functions affected may include: brake
 Arapahoe                                                               lamp illumination, transmission interlock (shifting from park), ignition interlock (push-
                                                                        button ignition start), anti-lock brake system (ABS) functionality, vehicle dynamics
                                                                        control (VDC) functionality, and/or Eyesight operation. If the vehicle experiences a loss
                                                                        in function, as described, any of the associated warning light(s) will illuminate. If the
                                                                        brake lamps do not illuminate properly, a trailing vehicle may be unable to recognize the
                                                                        braking operation, which may increase the risk of a rear-end collision.

 Subaru           3158          2016   Subaru   Forester    19V149000   Depending on the model, the brake lamp switch functions affected may include: brake
 Arapahoe                                                               lamp illumination, transmission interlock (shifting from park), ignition interlock (push-
                                                                        button ignition start), anti-lock brake system (ABS) functionality, vehicle dynamics
                                                                        control (VDC) functionality, and/or Eyesight operation. If the vehicle experiences a loss
                                                                        in function, as described, any of the associated warning light(s) will illuminate. If the
                                                                        brake lamps do not illuminate properly, a trailing vehicle may be unable to recognize the
                                                                        braking operation, which may increase the risk of a rear-end collision.

 Subaru           9690          2016   Subaru   Crosstrek   19V149000   Depending on the model, the brake lamp switch functions affected may include: brake
 Arapahoe                                                               lamp illumination, transmission interlock (shifting from park), ignition interlock (push-
                                                                        button ignition start), anti-lock brake system (ABS) functionality, vehicle dynamics
                                                                        control (VDC) functionality, and/or Eyesight operation. If the vehicle experiences a loss
                                                                        in function, as described, any of the associated warning light(s) will illuminate. If the
                                                                        brake lamps do not illuminate properly, a trailing vehicle may be unable to recognize the
                                                                        braking operation, which may increase the risk of a rear-end collision.

 Subaru           1428          2016   Subaru   Forester    19V149000   Depending on the model, the brake lamp switch functions affected may include: brake
 Arapahoe                                                               lamp illumination, transmission interlock (shifting from park), ignition interlock (push-
                                                                        button ignition start), anti-lock brake system (ABS) functionality, vehicle dynamics
                                                                        control (VDC) functionality, and/or Eyesight operation. If the vehicle experiences a loss
                                                                        in function, as described, any of the associated warning light(s) will illuminate. If the
                                                                        brake lamps do not illuminate properly, a trailing vehicle may be unable to recognize the
                                                                        braking operation, which may increase the risk of a rear-end collision.

 Subaru           9495          2014   Subaru   Crosstrek   19V149000   Depending on the model, the brake lamp switch functions affected may include: brake
 Arapahoe                                                               lamp illumination, transmission interlock (shifting from park), ignition interlock (push-
                                                                        button ignition start), anti-lock brake system (ABS) functionality, vehicle dynamics
                                                                        control (VDC) functionality, and/or Eyesight operation. If the vehicle experiences a loss
                                                                        in function, as described, any of the associated warning light(s) will illuminate. If the
                                                                        brake lamps do not illuminate properly, a trailing vehicle may be unable to recognize the
                                                                        braking operation, which may increase the risk of a rear-end collision.

 Subaru           8637          2012   Subaru   Outback     19V009000   An explosion of an inflator within the passenger frontal air bag module may result in
 Arapahoe                                                               sharp metal fragments striking the front seat passenger, driver or other occupants
                                                                        resulting in serious injury or death.

 Subaru           1712          2012   Subaru   Forester    19V008000   An explosion of an inflator within the passenger frontal air bag module may result in
 Arapahoe                                                               sharp metal fragments striking the front seat passenger, driver or other occupants
                                                                        resulting in serious injury or death.

 Hyundai          5635          2013    Audi       Q5        17V622     Melting wires may usually lead to an open circuit, but can also lead to overheating
 Denver                                                                 which can result in a fire.




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 AutoNation       VIN                                           NHTSA
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 Hyundai          5635          2013     Audi         Q5        17V001     A corroded airbag canister could fracture without airbag deployment, propelling
 Denver                                                                    fragments into the passenger compartment, striking and causing serious injury to
                                                                           vehicle occupants.

 Hyundai          5635          2013     Audi         Q5        17V298     On certain vehicles, the fuel pump flange may develop fine cracks or fissures, which
 Denver                                                                    could result in a fuel leak. Leaking fuel, in the presence of an ignition source, may result
                                                                           in a fire. … Leaking fuel, in the presence of an ignition source, may result in a fire.

 Hyundai          5635          2013     Audi         Q5        18V229     The electric (after-run) coolant pump may short circuit and/or overheat, potentially
 Denver                                                                    leading to a vehicle fire.

 Hyundai          1853          2010   Chevrolet   Traverse     15V415     The liftgate’s Prop Rod Recovery system software may be unable to detect/stop a
 Denver                                                                    liftgate with prematurely worn gas struts from falling too quickly after the liftgate is
                                                                           opened. If this condition occurs, it may introduce the opportunity for injury due to
                                                                           contact of the liftgate door with a person’s head/body.

 Hyundai          2365          2005    Dodge        Ram        16V-352    An inflator rupture, during airbag deployment events, could result in metal fragment(s)
 Denver                                                                    striking the vehicle occupant(s) resulting in serious injury or death. (Takata Airbag Recall)

 Hyundai          7484          2017     Ford        350        18V894     If the block heater cord currently installed on your vehicle is plugged into a wall outlet,
 Denver                                                                    this may result in an inoperative engine block heater, tripping of household breakers or
                                                                           GFCI equipped outlets, and/or a resistive short. A resistive short increases the risk of
                                                                           overheated or melted wiring, and/or fire.

 Hyundai          1406          2017     Ford       Fusion      18V167     The steering wheel may separate from the steering column if the steering wheel
 Denver                                                                    attachment bolt loosens over time. … This may increase the risk of a crash while driving.

 Hyundai          4176          2011     GMC        Acadia      14V266     In a crash, a separated cable could increase the risk of injury to the occupant.
 Denver

 Hyundai          4176          2011     GMC        Acadia      15V415     The liftgate’s Prop Rod Recovery system software may be unable to detect/stop a
 Denver                                                                    liftgate with prematurely worn gas struts from falling too quickly after the liftgate is
                                                                           opened. If this condition occurs, it may introduce the opportunity for injury due to
                                                                           contact of the liftgate door with a person’s head/body.

 Hyundai          1096          2007   Hyundai      Santa      08E055000   A short circuit can cause overheating and damage to the converter module, possibly
 Denver                                                                    resulting in a fire.

 Hyundai          2202          2012     Jeep      Wrangler     19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
 Denver                                                                    into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                           occupants. (Takata Airbag Recall)

 Hyundai          2430          2018    Subaru      Legacy     18V773000   The inaccurate fuel display may cause a driver to unexpectedly run out of fuel and the
 Denver                                                                    vehicle to stall, increasing the risk of a crash.

 Hyundai          6076          2017    Toyota       Yaris      19V319     Non-deployment or improper deployment of these airbags can increase the risk of
 Denver                                                                    injury in the event of a crash.

 Texas*

 Mitsubishi       5308          2014   Chevrolet   Silverado    16V209     In a crash, a fatigued tensioner cable could break, reducing the effectiveness of the
 Houston                                             1500                  vehicle’s seat belts increasing the risk of injury to the driver.

 Mitsubishi       7970          2015   Chrysler      200        15V-470    Intermittent electrical connection(s) may result in an engine stall or a shift to neutral
 Houston                                                                   event. Either of these conditions may cause a crash without warning.

 Mitsubishi       7970          2015   Chrysler      200        16V-529    This may cause an intermittent high electrical resistance in the transaxle wire harness
 Houston                                                                   circuit(s). A high resistance circuit(s) in this wiring harness will cause the on-board
                                                                           diagnostic system to set a diagnostic trouble code (DTC). When the DTC is set, the
                                                                           system defaults the transaxle to neutral and the customer experiences a loss of motive
                                                                           power. … The loss of motive power could cause a crash without warning.

 Mitsubishi       3667          2015   Chrysler      300        18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
 Houston                                           Touring                 speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                           stop the vehicle, this condition can cause a vehicle crash without warning.

 Mitsubishi       3778          2012    Dodge      Charger      17V-435    Failed diodes may also develop a resistive short circuit that can result in heat, smoke
 Houston                                                                   and/or fire originating within the alternator.

* Since the survey was completed, two of the dealerships surveyed – AutoNation Mitsubishi Houston and AutoNation Nissan Lewisville – have
  ceased to be AutoNation dealerships. AutoNation Mitsubishi Houston is now closed, and AutoNation Nissan Lewisville is no longer under
  AutoNation management.



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 AutoNation       VIN                                          NHTSA
 Location     (Last 4 Digits)   Year     Make       Model      Recall #   Safety Risk

 Mitsubishi       2384          2014     Ford      Mustang     19V001     The passenger frontal airbag inflator could rupture if the vehicle is involved in a crash
 Houston                                                                  where the supplemental frontal airbags are designed to deploy. If an inflator ruptures
                                                                          metal fragments could enter the passenger compartment increasing the risk of injury or
                                                                          death to occupants. (Takata Airbag Recall)

 Mitsubishi       2237          2014    Honda        Civic     15V-574    If the drive pulley shaft breaks, the vehicle may lose acceleration or the front wheels
 Houston                                                                  may lock up, increasing the risk of a crash.

 Mitsubishi       3920          2014     Jeep       Grand      18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
 Houston                                           Cherokee               speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                          stop the vehicle, this condition can cause a vehicle crash without warning.

 Mitsubishi       3700          2012   Mercedes-    C350W      17V017     Your passenger-side airbag is affected by this recall based on the defect decision of TK
 Houston                                 Benz                             Holdings, Inc. (Takata). Under certain circumstances during a crash that necessitates
                                                                          frontal airbag deployment, the defect in your passenger-side airbag inflator may cause
                                                                          the airbag to explode during deployment and could result in sharp metal fragments
                                                                          striking the driver or other occupants, possibly causing serious injury or death.

 Mitsubishi       6860          2011   Mercedes-    C350W      16V081     According to Takata, in the event of an inflator rupture, metal fragments could pass
 Houston                                 Benz                             through the air bag cushion material, which may result in injury or death to vehicle
                                                                          occupants.

 Mitsubishi       6860          2011   Mercedes-    C350W      16V363     According to Takata, in the event of an inflator rupture, metal fragments could pass
 Houston                                 Benz                             through the air bag cushion material, which may result in injury or death to vehicle
                                                                          occupants.

 Mitsubishi       4111          2011   Mercedes-    E550A      16V081     According to Takata, in the event of an inflator rupture, metal fragments could pass
 Houston                                 Benz                             through the air bag cushion material, which may result in injury or death to vehicle
                                                                          occupants.

 Mitsubishi       4111          2011   Mercedes-    E550A      16V363     According to Takata, in the event of an inflator rupture, metal fragments could pass
 Houston                                 Benz                             through the air bag cushion material, which may result in injury or death to vehicle
                                                                          occupants.

 Mitsubishi       0835          2015     Ram       1500 SLT    17V-302    The loss of airbag and seat belt pretensioner deployment capability during a crash may
 Houston                                                                  increase the risk of injury or death.

 Mitsubishi       0835          2015     Ram       1501 SLT    18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
 Houston                                                                  speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                          stop the vehicle, this condition can cause a vehicle crash without warning.

 Mitsubishi       0835          2015     Ram       1502 SLT    18V-486    An unintended opening of the tailgate while driving may result in a loss of unrestrained
 Houston                                                                  cargo from the truck bed while driving. Lost cargo may create a road hazard to
                                                                          operators and occupants of other vehicles, and can cause such vehicles to crash.

 USA              7358          2015     Audi         Q5       17V622     Melting wires may usually lead to an open circuit, but can also lead to overheating
 Houston                                                                  which can result in a fire.

 USA              7358          2015     Audi         Q5       18V229     The electric (after-run) coolant pump may short circuit and/or overheat, potentially
 Houston                                                                  leading to a vehicle fire.

 USA              1190          2017     BMW          X1       19V349     A vertical trim piece on the inside of the vehicle, between the front and rear doors, may
 Houston                                                                  marginally exceed a Federal requirement for an unbelted compliance test. … In a severe
                                                                          accident, this could increase the risk of injury to the rear seat passengers if they are
                                                                          unbelted.

 USA              3777          2011   Chevrolet    Tahoe      16V381     The propellant in some types of Takata airbag inflators can degrade over time,
 Houston                                                                  especially after long term exposure in hot and humid regions. If the propellant degrades
                                                                          to a certain level, the inflators may rupture during deployment, causing serious or fatal
                                                                          injuries.

 USA              2352          2009   Chevrolet   Silverado   16V381     The propellant in some types of Takata airbag inflators can degrade over time, especially
 Houston                                                                  after long term exposure in hot and humid regions. If the propellant degrades to a certain
                                                                          level, the inflators may rupture during deployment, causing serious or fatal injuries.

 USA              2420          2008   Chevrolet    Tahoe      16V381     The propellant in some types of Takata airbag inflators can degrade over time, especially
 Houston                                                                  after long term exposure in hot and humid regions. If the propellant degrades to a certain
                                                                          level, the inflators may rupture during deployment, causing serious or fatal injuries.

 USA              2727          2007   Chevrolet   Avalanche   16V381     The propellant in some types of Takata airbag inflators can degrade over time, especially
 Houston                                                                  after long term exposure in hot and humid regions. If the propellant degrades to a certain
                                                                          level, the inflators may rupture during deployment, causing serious or fatal injuries.




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AutoNation       VIN                                        NHTSA
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USA              8251          2016   Chrysler    300       18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
Houston                                                                speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                       stop the vehicle, this condition can cause a vehicle crash without warning.

USA              1068          2018   Dodge      Charger    18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
Houston                                                                speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                       stop the vehicle, this condition can cause a vehicle crash without warning.

USA              1879          2013    Ford       F-150    AWAITING#   An unintended downshift into first gear can cause an abrupt wheel speed reduction,
Houston                                                                which could cause the rear tires to slide until the vehicle speed slows down. This
                                                                       condition could result in a loss of vehicle control, increasing the risk of a crash.

USA              5929          2012    Ford      Taurus     15V040     If the interior door handle return spring is unseated, the door may unlatch during a side
Houston                                                                impact crash, increasing the risk of injury.

USA              5720          2012    Ford      Fusion     15V340     In the event of a loss of power steering assist, the mechanical linkage between the
Houston                                                                steering wheel and the road is maintained at all times. The steering system will default
                                                                       to manual steering mode, allowing the vehicle to be steered in a safe and controlled
                                                                       manner. Loss of power steering assist is unlikely to be associated with accidents at
                                                                       higher speeds, as the amount of assist supplied is inversely proportional to vehicle
                                                                       speed. Loss of power steering assist would require higher steering effort, especially at
                                                                       lower speeds, which may result in an increased risk of a crash.

USA              5720          2012    Ford      Fusion     19V001     The passenger frontal airbag inflator could rupture if the vehicle is involved in a crash
Houston                                                                where the supplemental frontal airbags are designed to deploy. If an inflator ruptures
                                                                       metal fragments could enter the passenger compartment increasing the risk of injury or
                                                                       death to occupants. (Takata Airbag Recall)

USA              6747          2010    GMC       Acadia     14V266     The flexible steel cable that connects the safety belt to the vehicle at the outside of
Houston                                                                the front outboard seating positions can fatigue and separate over time as a result of
                                                                       occupant movement into the seat. … In a crash, a separated cable could increase the
                                                                       risk of injury to the occupant.

USA              6747          2010    GMC       Acadia     15V415     The liftgate’s Prop Rod Recovery system software may be unable to detect/stop a
Houston                                                                liftgate with prematurely worn gas struts from falling too quickly after the liftgate is
                                                                       opened. If this condition occurs, it may introduce the opportunity for injury due to
                                                                       contact of the liftgate door with a person’s head/body.

USA              7706          2015   Honda      Accord     19V-060    Reduced fuel flow to the engine combined with vehicle operation in high temperature
Houston                                                                conditions can restrict vehicle acceleration and/or cause an engine stall, which
                                                                       increases the risk of a crash.

USA              4266          2015   Honda      Accord     19V-060    Reduced fuel flow to the engine combined with vehicle operation in high temperature
Houston                                                                conditions can restrict vehicle acceleration and/or cause an engine stall, which
                                                                       increases the risk of a crash.

USA              8670          2011   Honda      Odyssey    17V-725    An unlatched second row outer seat could tip forward during moderate to heavy braking
Houston                                                                increasing the risk of injury to an occupant, including a child seated in a LATCH child
                                                                       seat.

USA              8670          2011   Honda      Odyssey    16V-933    An unlocked second row outboard seat increases the risk of injury to the seat occupant
Houston                                                                during a crash.

USA              5235          2014     Kia      Sorento    17V224     If the warnings are ignored and the vehicle continues to be driven, the bearing may
Houston                                                                fail and the vehicle could stall while in motion. An engine stall at higher speeds can
                                                                       increase the risk of a crash.

USA              1117          2008    Lexus     GS350      18V432     The diaphragm material in the fuel pulsation dampers in this engine may harden over
Houston                                                                time and crack, causing fuel to leak. … A fuel leak in the presence of an ignition source
                                                                       can increase the risk of a vehicle fire.

USA              6110          2018   Mazda       CX5       19V-497    Engine damage may occur, resulting in engine stall while driving without ability to be
Houston                                                                restarted, which may increase the risk of a crash.

USA              5930          2018   Mazda       CX5       19V-497    Engine damage may occur, resulting in engine stall while driving without ability to be
Houston                                                                restarted, which may increase the risk of a crash.

USA              5494          2018   Mazda       CX5       19V-497    Engine damage may occur, resulting in engine stall while driving without ability to be
Houston                                                                restarted, which may increase the risk of a crash.




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 AutoNation       VIN                                           NHTSA
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 USA              7225          2017     Mazda         3        19V-722    On certain Mazda3 vehicles, the front windshield wipers may become inoperative due
 Houston                                                                   to a defective relay located inside the Front Body Control Module (F-BCM) that disrupts
                                                                           electrical power to the wiper motor. Drivers may experience reduced or poor visibility
                                                                           while driving due to inoperative front windshield wipers, increasing a risk of crash.

 USA              1694          2015   Mercedes-    GLA-Class   17V627     An inadvertent driver airbag deployment may cause a risk of injury to the driver and
 Houston                                 Benz                              might increase the risk of a potential crash.

 USA              2401          2017     Nissan       Titan      TBD       At low battery voltage, the vehicle’s electrical components may flicker and turn off. The
 Houston                                                                   vehicle will operate at reduced power and if the condition worsens, an engine stall may
                                                                           occur while driving. In rare cases, the short may result in an engine compartment fire.

 USA              0286          2014     Nissan       Juke      15V-418    Due to a production issue that has been corrected, the engine start/stop button could
 Houston                                                                   potentially stick inside its housing. … In rare instances, this could cause the engine to
                                                                           stall and not immediately restart which may increase the risk of a crash.

 USA              0286          2014     Nissan       Juke      14V-683    On some of the affected vehicles, the fuel pressure sensor may not have been tightened
 Houston                                                                   to specification. If the sensor is not properly tightened, it may gradually loosen over
                                                                           time due to heat and vibration, which could cause a small amount of fuel to leak from
                                                                           the fuel pressure sensor. … If this were to occur, it could increase the risk of a fire in the
                                                                           presence of an ignition source.

 USA              4900          2018      Ram         1500      19V-347    An unintended opening of the tailgate while driving may result in a loss of unrestrained
 Houston                                                                   cargo from the truck bed while driving. Lost cargo may create a road hazard to
                                                                           operators and occupants of other vehicles, and can cause such vehicles to crash
                                                                           without warning

 USA              7528          2012      Ram         1500      15V-459    A chaffed steering wheel wire harness could cause an electrical short and/or an
 Houston                                                                   inadvertent driver airbag deployment. Inadvertent driver airbag deployment, during
                                                                           certain driving conditions, may increase the risk of a crash and/or vehicle occupant
                                                                           injury.

 USA              9872          2018   Volkswagen     Atlas     19V389     Incorrectly adjusted headlights may result in reduced visibility (for the driver and other
 Houston                                                                   motorists) which could increase the risk of a crash.

 Nissan           2058          2012    Chrysler      300       16V-240    Drivers erroneously concluding that their vehicle’s transmission is in the PARK position
 Lewisville                                                                may be struck by the vehicle and injured if they attempt to get out of the vehicle while
                                                                           the engine is running and the parking brake is not engaged.

 Nissan           2058          2012    Chrysler      300       16V-352    An inflator rupture, during airbag deployment events, could result in metal fragment(s)
 Lewisville                                                                striking the vehicle occupant(s) resulting in serious injury or death. (Takata Airbag
                                                                           Recall)

 Nissan           2058          2012    Chrysler      300       17V-435    Failed diodes may also develop a resistive short circuit that can result in heat, smoke
 Lewisville                                                                and/or fire originating within the alternator.

 Nissan           3498          2016      Ford       Fusion     18V167     The steering wheel may separate from the steering column if the steering wheel
 Lewisville                                                                attachment bolt loosens over time. … This may increase the risk of a crash while
                                                                           driving.

 Nissan           3498          2016      Ford       Fusion     18V471     On your vehicle, the bushing in the transmission shifter cable may degrade over
 Lewisville                                                                time. This may cause the transmission shifter cable to not be able to fully move the
                                                                           transmission to the selected gear position. … If the driver attempts to shift to park in
                                                                           this condition, the transmission may not be in the park position even though the shifter
                                                                           position indicates the vehicle is in park, and the transmission not in park warning may
                                                                           not appear. This could result in unintended vehicle movement, increasing the risk of
                                                                           injury or crash.

 Nissan           5749          2013      Ford      Explorer    19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
 Lewisville                                                                of a crash.

 Nissan           3931          2013   Mercedes-     C350W      17V627     An inadvertent driver airbag deployment may cause a risk of injury to the driver and
 Lewisville                              Benz                              might increase the risk of a potential crash.

 Nissan           3931          2013   Mercedes-     C350W      18V043     Your passenger-side airbag is affected by this recall based on the defect decision of TK
 Lewisville                              Benz                              Holdings, Inc. (Takata). Under certain circumstances during a crash that necessitates
                                                                           frontal airbag deployment, the defect in your passenger-side airbag inflator may cause
                                                                           the airbag to explode during deployment and could result in sharp metal fragments
                                                                           striking the driver or other occupants, possibly causing serious injury or death.

 Nissan           0381          2015     Nissan      Altima     18V-915    The cable may interfere with the window regulator causing the rear passenger door to
 Lewisville                                                                unlatch and inadvertently open when the window is lowered. If this occurs while the
                                                                           vehicle is in motion, it may increase the risk of injury to the rear passengers.



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AutoNation       VIN                                            NHTSA
Location     (Last 4 Digits)   Year     Make        Model       Recall #   Safety Risk

Nissan           2351          2015     Subaru     Forester    19V149000   Depending on the model, the brake lamp switch functions affected may include: brake
Lewisville                                                                 lamp illumination, transmission interlock (shifting from park), ignition interlock (push-
                                                                           button ignition start), anti-lock brake system (ABS) functionality, vehicle dynamics
                                                                           control (VDC) functionality, and/or Eyesight operation. If the vehicle experiences a loss
                                                                           in function, as described, any of the associated warning light(s) will illuminate. If the
                                                                           brake lamps do not illuminate properly, a trailing vehicle may be unable to recognize the
                                                                           braking operation, which may increase the risk of a rear-end collision.

Nissan           6242          2013     Subaru     Impreza     19V149001   Depending on the model, the brake lamp switch functions affected may include: brake
Lewisville                                                                 lamp illumination, transmission interlock (shifting from park), ignition interlock (push-
                                                                           button ignition start), anti-lock brake system (ABS) functionality, vehicle dynamics
                                                                           control (VDC) functionality, and/or Eyesight operation. If the vehicle experiences a loss
                                                                           in function, as described, any of the associated warning light(s) will illuminate. If the
                                                                           brake lamps do not illuminate properly, a trailing vehicle may be unable to recognize the
                                                                           braking operation, which may increase the risk of a rear-end collision.

Nissan           8280          2010     Toyota      Prius       18V684     The involved vehicles were designed to enter a failsafe driving mode in response to
Lewisville                                                                 certain hybrid system faults. Toyota has found that in rare situations, the vehicle may
                                                                           not enter a failsafe driving mode as intended. … If this occurs, the vehicle could lose
                                                                           power and stall. While power steering and braking would remain operational, a vehicle
                                                                           stall while driving at higher speeds could increase the risk of a crash.

Nissan           8470          2015   Volkswagen    Passat      19V389     Incorrectly adjusted headlights may result in reduced visibility (for the driver and other
Lewisville                                                                 motorists) which could increase the risk of a crash.

Nissan           7896          2012   Volkswagen     Eos        18V148     The driver airbag may explode in a crash with airbag deployment. Sharp metal
Lewisville                                                                 fragments can hit people and cause serious injury or death. (Takata Airbag Recall)

Ford South       8032          2016      Audi         A3        19V474     In the event of a crash there would be an increased risk of injury to the occupant seated
Fort Worth                                                                 in the front passenger seat if the passenger airbag is switched off/not working.

Ford South       7005          2010    Chevrolet   Silverado    16V381     The propellant in some types of Takata airbag inflators can degrade over time,
Fort Worth                                                                 especially after long term exposure in hot and humid regions. If the propellant degrades
                                                                           to a certain level, the inflators may rupture during deployment, causing serious or fatal
                                                                           injuries.

Ford South       2204          2015    Chrysler      300        19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
Fort Worth                                                                 into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                           occupants. (Takata Airbag Recall)

Ford South       2072          2017      Ford      Escape       16V617     If the window closing force exceeds the regulatory requirement, it could increase the
Fort Worth                                                                 risk of injury.

Ford South       9020          2016      Ford      Explorer     19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
Fort Worth                                                                 of a crash.

Ford South       8939          2016      Ford       Fusion      19V362     On your vehicle, the bushing in the transmission shifter cable may degrade over
Fort Worth                                                                 time. This may cause the transmission shifter cable to not be able to fully move the
                                                                           transmission to the selected gear position. … If the driver attempts to shift to park in
                                                                           this condition, the transmission may not be in the park position even though the shifter
                                                                           position indicates the vehicle is in park, and the transmission not in park warning may
                                                                           not appear. This could result in unintended vehicle movement, increasing the risk of
                                                                           injury or crash.

Ford South       8484          2015      Ford       F-150       17V652     On your vehicle, a frozen door latch, or a bent or kinked door latch actuation cable, may
Fort Worth                                                                 result in a door that will not open, will not close, or opens while driving. … This may
                                                                           result in a latch that may not fully engage the door striker which could cause the door
                                                                           to open while driving, increasing the risk of injury.

Ford South       8484          2015      Ford       F-150       18V568     A fire in the b-pillar area may spread within the vehicle and increase the risk of injury.
Fort Worth                                                                 You may notice odor and/or smoke as the fire develops.

Ford South       0824          2016      Jeep      Cherokee     18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
Fort Worth                                                                 speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                           stop the vehicle, this condition can cause a vehicle crash without warning.

Ford South       7853          2013      Jeep       Grand       15V-879    The sun visors on your vehicle may experience a high resistance short at the sun
Fort Worth                                         Cherokee                visor vanity lamp wiring after a service repair to the sun visors. … This may result in an
                                                                           inoperative vanity lamp and/or an electrical fire.




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 AutoNation         VIN                                          NHTSA
 Location       (Last 4 Digits)   Year     Make        Model     Recall #   Safety Risk

 Ford South         3157          2011      Kia       Optima     18V363     If the ASIC becomes damaged, the frontal airbags and seatbelt pretensioners may
 Fort Worth                                                                 not deploy in certain frontal crashes where deployment may be necessary, thereby
                                                                            increasing the risk of injury.

 Ford South         7723          2016     Lexus       LX570     18V887     If these airbags are deactivated, there is an increased risk of injury to the occupant in
 Fort Worth                                                                 the event of a crash.

 Ford South         9496          2018      Ram        3500      19V-021    A drag link separation can result in a loss of directional steering control, which can
 Fort Worth                                                                 cause a vehicle crash without prior warning.

 Ford South         9496          2018      Ram        3500      19V-347    An unintended opening of the tailgate while driving may result in a loss of unrestrained
 Fort Worth                                                                 cargo from the truck bed while driving. Lost cargo may create a road hazard to
                                                                            operators and occupants of other vehicles, and can cause such vehicles to crash
                                                                            without warning.

 Ford South         2722          2017      Ram        2500      19V-021    A drag link separation can result in a loss of directional steering control, which can
 Fort Worth                                                                 cause a vehicle crash without prior warning.

 Ford South         7828          2016      Ram        1500      18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
 Fort Worth                                                                 speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                            stop the vehicle, this condition can cause a vehicle crash without warning.

 Ford South         7828          2016      Ram        1500      18V-486    An unintended opening of the tailgate while driving may result in a loss of unrestrained
 Fort Worth                                                                 cargo from the truck bed while driving. Lost cargo may create a road hazard to
                                                                            operators and occupants of other vehicles, and can cause such vehicles to crash.

 Maryland (Washington D.C. Metro Area)

 Chevrolet          7453          2013    Chevrolet    Impala    14V355     If the key ring is carrying added weight and the vehicle goes off road or experiences
 Laurel                                                                     some other jarring event, it may unintentionally move the key away from the "run"
                                                                            position. … If this occurs, engine power, power steering and power braking will be
                                                                            affected, increasing the risk of a crash. The timing of the key movement out of the "run"
                                                                            position, relative to the activation of the sensing algorithm of the crash event, may result
                                                                            in the airbags not deploying, increasing the potential for occupant injury in certain kinds
                                                                            of crashes. Until the recall has been performed, it is very important that customers
                                                                            remove all items from their key ring, leaving only the vehicle key. The key fob (if
                                                                            applicable), should also be removed from the key ring. DRIVE WITH ONLY A SINGLE KEY!

 Chevrolet          0671          2017      Ford       F-150     18V568     A fire in the b-pillar area may spread within the vehicle and increase the risk of injury.
 Laurel                                                                     You may notice odor and/or smoke as the fire develops.

 Chevrolet          8105          2014      Ford       Fiesta    15V246     A door latch with a broken pawl spring tab typically results in a "door will not close"
 Laurel                                                                     condition. Should the customer be able to latch the door, there is a potential the door
                                                                            may unlatch while driving, increasing the risk of injury.

 Chevrolet          0639          2015      Jeep       Grand     18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
 Laurel                                               Cherokee              speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                            stop the vehicle, this condition can cause a vehicle crash without warning.

 Chevrolet          5827          2016     Toyota     4Runner    19V005     In the event of an inflator explosion, metal fragments could pass through the airbag
 Laurel                                                                     cushion material, striking the vehicle occupants, and result in serious injury or death.
                                                                            (Takata Airbag Recall)

 Chevrolet          6030          2012   Volkswagen    Jetta     14V656     If your vehicle had sustained damage to rear axle components (from a rear or side-rear
 Laurel                                                                     impact crash or after striking a high road obstacle while driving in reverse at higher
                                                                            speed) and a repair facility did not correctly diagnose/repair rear axle trailing arm
                                                                            damage, the durability of the trailing arm(s) could be reduced. This can lead to a sudden
                                                                            fracture of the trailing arm, a loss of vehicle control, and a crash without warning.

 Virginia (Washington D.C. Metro Area)

 Honda              2310          2015      Audi        A3       19V474     In the event of a crash there would be an increased risk of injury to the occupant seated
 Dulles                                                                     in the front passenger seat if the passenger airbag is switched off/not working.

 Honda              9819          2018     BMW          X1       19V349     A vertical trim piece on the inside of the vehicle, between the front and rear doors, may
 Dulles                                                                     marginally exceed a Federal requirement for an unbelted compliance test. … In a severe
                                                                            accident, this could increase the risk of injury to the rear seat passengers if they are
                                                                            unbelted.

 Honda              2527          2006     BMW          M5       12V126     Overheating could lead to a fire, even when the vehicle is not in use. As a precaution,
 Dulles                                                                     you are advised to park outside until the remedy has been made




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AutoNation       VIN                                             NHTSA
Location     (Last 4 Digits)   Year     Make        Model        Recall #   Safety Risk

Honda            7050          2013    Chevrolet    Impala       14V355     If the key ring is carrying added weight and the vehicle goes off road or experiences
Dulles                                                                      some other jarring event, it may unintentionally move the key away from the "run"
                                                                            position. … If this occurs, engine power, power steering and power braking will be
                                                                            affected, increasing the risk of a crash. The timing of the key movement out of the "run"
                                                                            position, relative to the activation of the sensing algorithm of the crash event, may result
                                                                            in the airbags not deploying, increasing the potential for occupant injury in certain kinds
                                                                            of crashes. Until the recall has been performed, it is very important that customers
                                                                            remove all items from their key ring, leaving only the vehicle key. The key fob (if
                                                                            applicable), should also be removed from the key ring. DRIVE WITH ONLY A SINGLE KEY!

Honda            3961          2010     Honda        CR-V        18V-042    In the event of a passenger frontal airbag inflator rupture, metal fragments could pass
Dulles                                                                      through the airbag cushion material, potentially resulting in injury to vehicle occupants.
                                                                            The risk of such an occurrence increases over time. It is imperative you schedule an
                                                                            appointment with an authorized Honda dealer now to avoid this condition in the future.
                                                                            (Takata Airbag Recall)

Honda            7264          2016      Jeep      Wrangler      19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
Dulles                                                                      into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                            occupants. (Takata Airbag Recall)

Honda            0821          2011      Jeep      Wrangler      19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
Dulles                                                                      into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                            occupants. (Takata Airbag Recall)

Honda            7194          2013     Mazda         CX5        16V-644    The rear hatch or lift gate may drop suddenly, and/or the broken parts may hit the
Dulles                                                                      customer, causing injury.

Honda            5942          2014   Mercedes-    C300W4        19V010     According to Takata, in the event of an inflator explosion, metal fragments could pass
Dulles                                  Benz                                through the air bag cushion material, which may result in injury or death to vehicle
                                                                            occupants.

Honda            0582          2007    Pontiac     Grand Prix    15V519     Loss of low-beam headlamps, when they are required, could reduce the driver's visibility,
Dulles                                                                      increasing the risk of a crash.

Honda            4360          2014     Subaru      Outback     19V008000   An explosion of an inflator within the passenger frontal air bag module may result in
Dulles                                                                      sharp metal fragments striking the front seat passenger, driver or other occupants
                                                                            resulting in serious injury or death.

Honda            6975          2013     Subaru      Outback     19V008000   An explosion of an inflator within the passenger frontal air bag module may result in
Dulles                                                                      sharp metal fragments striking the front seat passenger, driver or other occupants
                                                                            resulting in serious injury or death.

Honda            6975          2013     Subaru      Outback     16V694000   If the windshield wiper motor overheats, the wipers may fail, reducing driver visibility
Dulles                                                                      and increasing the risk of a crash. Additionally, the wiper motor cover may melt,
                                                                            increasing the risk of a fire.

Honda            7069          2012   Volkswagen     Jetta       14V656     If your vehicle had sustained damage to rear axle components (from a rear or side-rear
Dulles                                                                      impact crash or after striking a high road obstacle while driving in reverse at higher
                                                                            speed) and a repair facility did not correctly diagnose/repair rear axle trailing arm
                                                                            damage, the durability of the trailing arm(s) could be reduced. This can lead to a sudden
                                                                            fracture of the trailing arm, a loss of vehicle control, and a crash without warning.

Georgia

Nissan           8482          2010   Mercedes-     E350C        16V081     According to Takata, in the event of an inflator rupture, metal fragments could pass
Marietta                                Benz                                through the air bag cushion material, which may result in injury or death to vehicle
                                                                            occupants.

Nissan           8482          2010   Mercedes-     E350C        16V363     According to Takata, in the event of an inflator rupture, metal fragments could pass
Marietta                                Benz                                through the air bag cushion material, which may result in injury or death to vehicle
                                                                            occupants.

Nissan           9178          2016     Nissan      Altima       18V-915    The cable may interfere with the window regulator causing the rear passenger door to
Marietta                                                                    unlatch and inadvertently open when the window is lowered. If this occurs while the
                                                                            vehicle is in motion, it may increase the risk of injury to the rear passengers.

Nissan           4605          2016     Nissan     Rogue SL      16V-244    Failure of the passenger airbag to deploy during a crash (where deployment is
Marietta                                             FWD                    warranted) could increase the risk of injury to the passenger.

Nissan           1248          2016     Nissan      Altima       18V-915    The cable may interfere with the window regulator causing the rear passenger door to
Marietta                                                                    unlatch and inadvertently open when the window is lowered. If this occurs while the
                                                                            vehicle is in motion, it may increase the risk of injury to the rear passengers.




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 AutoNation        VIN                                         NHTSA
 Location      (Last 4 Digits)   Year     Make       Model     Recall #   Safety Risk

 Toyota Mall       2162          2016     Ford      Explorer   19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
 of Georgia                                                               of a crash.

 Toyota Mall       6474          2015    Dodge      Dart SXT   19V-293    If shifter cable becomes detached from the transmission the vehicle may not perform
 of Georgia                                                               the shifts intended by the driver. Unintended vehicle movement and vehicle crash can
                                                                          occur.

 Toyota Mall       8644          2014     Ford       Focus     18V735     If the canister purge valve (CPV) malfunctions and sticks open, it can lead to excessive
 of Georgia                                                               vacuum in the fuel vapor system, potentially deforming the plastic fuel tank. This can
                                                                          cause the following symptoms: illuminated malfunction indicator lamp (MIL) with
                                                                          certain diagnostic trouble codes (DTCs) inaccurate or erratic fuel gauge indication
                                                                          inaccurate distance to empty (DTE) engine stall and/or other drivability concerns
                                                                          related to stuck open CPV. … This may result in an engine stall while driving without
                                                                          warning or without the ability to restart, and can increase the risk of a crash.

 Toyota Mall       6161          2013    Chrysler   Town &     14V-234    An overheated rear quarter vent window switch may cause a burning odor, smoke, or a
 of Georgia                                         Country               drivers door fire without warning.

 Toyota Mall       4779          2012     Buick     Enclave    15V415     The liftgate’s Prop Rod Recovery system software may be unable to detect/stop a
 of Georgia                                                               liftgate with prematurely worn gas struts from falling too quickly after the liftgate is
                                                                          opened. If this condition occurs, it may introduce the opportunity for injury due to
                                                                          contact of the liftgate door with a person’s head/body.

 Toyota Mall       6705          2009    Honda       Accord    16V-346    In the event of a passenger frontal airbag inflator rupture, metal fragments could pass
 of Georgia                                                               through the airbag cushion material, potentially resulting in injury to vehicle occupants.
                                                                          The risk of such an occurrence increases over time. It is imperative you schedule an
                                                                          appointment with an authorized Honda dealer now to avoid this condition in the future.
                                                                          (Takata Airbag Recall)

 Toyota Mall       6705          2009    Honda       Accord    11V-395    A broken outer race may cause abnormal noise, the malfunction indicator light to
 of Georgia                                                               turn on, and allow contact between the transmission idle gear and an electronic
                                                                          sensor housing within the transmission. … This could result in a short circuit causing
                                                                          the engine to stall. Additionally, broken pieces of the outer race or ball bearing from
                                                                          the secondary shaft may become lodged in the parking pawl resulting in the vehicle
                                                                          rolling after the driver has placed the gear selector in the park position. Engine stall
                                                                          and unexpected vehicle movement increases the risk of a crash or personal injury to
                                                                          persons within the path of a rolling vehicle.

 Toyota Mall       6705          2009    Honda       Accord    09E- 063   It is possible for the nose mask material to interfere with part of the hood latch. If the
 of Georgia                                                               hood has not been completely closed and the nose mask interferes with the secondary
                                                                          hood latch mechanism the hood may pop open while the vehicle being driven. … This
                                                                          may result in reduced driver visibility that could increase the risk of a crash.

 Toyota Mall       5853          2005   Dodge Ram   Quad Cab   05V-462    In certain circumstances when a driver has not placed the shifter lever fully into the
 of Georgia                                           3500                park position and leaves the engine running, the vehicle may unexpectedly move
                                                                          rearward after seeming to be stable. … Unintended rearward movement of a vehicle
                                                                          could injure those in and/or near the vehicle.

 Toyota Mall       5853          2005   Dodge Ram   Quad Cab   09E- 001   The drag link inner joint may fracture under certain driving conditions. This could result
 of Georgia                                           3500                in a loss of steering control and cause a crash without warning. This could allow the
                                                                          bracket to slide on the tube and may cause increased vehicle turning radius.

 Toyota Mall       5853          2005   Dodge Ram   Quad Cab   16V- 352   An inflator rupture, during airbag deployment events, could result in metal fragment(s)
 of Georgia                                           3500                striking the vehicle occupant(s) resulting in serious injury or death. (Takata Airbag
                                                                          Recall)

 Toyota Mall       4656          2004    Honda       CR-V      19V-501    In the event of a passenger frontal airbag inflator rupture, metal fragments could pass
 of Georgia                                                               through the airbag cushion material, potentially resulting in injury to vehicle occupants.
                                                                          The risk of such an occurrence increases over time. It is imperative you schedule an
                                                                          appointment with an authorized Honda dealer now to avoid this condition in the future.
                                                                          {Takata Airbag Recall)

 Toyota Mall       0717          2003     Jeep       Liberty   13V-252    The fuel tank on your vehicle has a small chance of experiencing a fuel leak during
 of Georgia                                                               certain types of rear end collisions. … Fuel leakage in the presence of an ignition source
                                                                          can result in an underbody fire.

 Toyota Mall       0717          2003     Jeep       Liberty   15V-046    An inadvertent airbag deployment while driving could distract the driver and cause a
 of Georgia                                                               crash without warning.




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AutoNation       VIN                                        NHTSA
Location     (Last 4 Digits)   Year   Make      Model       Recall #   Safety Risk

Arizona

Nissan           9025          2016    Ford     Explorer    19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
Tempe                                                                  of a crash.

Nissan           2842          2008   Honda     Accord      16V-346    In the event of a passenger frontal airbag inflator rupture, metal fragments could pass
Tempe                                                                  through the airbag cushion material, potentially resulting in injury to vehicle occupants.
                                                                       The risk of such an occurrence increases over time. It is imperative you schedule an
                                                                       appointment with an authorized Honda dealer now to avoid this condition in the future.
                                                                       (Takata Airbag Recall)

Nissan           2842          2008   Honda     Accord      16V-056    A failed SRS ECU could prevent the airbags from deploying in a crash necessitating
Tempe                                                                  airbag deployment, increasing the risk of injury.

Nissan           2842          2008   Honda     Accord      09E-063    It is possible for the nose mask material to interfere with part of the hood latch. If the
Tempe                                                                  hood has not been completely closed and the nose mask interferes with the secondary
                                                                       hood latch mechanism the hood may pop open while the vehicle being driven. … This
                                                                       may result in reduced driver visibility that could increase the risk of a crash.

Nissan           0972          2018   Nissan     Titan       TBD       At low battery voltage, the vehicle’s electrical components may flicker and turn off. The
Tempe                                                                  vehicle will operate at reduced power and if the condition worsens, an engine stall may
                                                                       occur while driving. In rare cases, the short may result in an engine compartment fire.

Nissan           2362          2017   Nissan     Titan       TBD       At low battery voltage, the vehicle’s electrical components may flicker and turn off. The
Tempe                                                                  vehicle will operate at reduced power and if the condition worsens, an engine stall may
                                                                       occur while driving. In rare cases, the short may result in an engine compartment fire.

USA              7206          2016   BMW         X1        19V349     A vertical trim piece on the inside of the vehicle, between the front and rear doors, may
Phoenix                                                                marginally exceed a Federal requirement for an unbelted compliance test. … In a severe
                                                                       accident, this could increase the risk of injury to the rear seat passengers if they are
                                                                       unbelted.

USA              1028          2013   Dodge    Challenger   17V-435    Failed diodes may also develop a resistive short circuit that can result in heat, smoke
Phoenix                                                                and/or fire originating within the alternator.

USA              1028          2013   Dodge    Challenger   19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
Phoenix                                                                into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                       occupants. (Takata Airbag Recall)

USA              1396          2013    Ford      Focus      18V735     If the canister purge valve (CPV) malfunctions and sticks open, it can lead to excessive
Phoenix                                                                vacuum in the fuel vapor system, potentially deforming the plastic fuel tank. This can
                                                                       cause the following symptoms: illuminated malfunction indicator lamp (MIL) with
                                                                       certain diagnostic trouble codes (DTCs) inaccurate or erratic fuel gauge indication
                                                                       inaccurate distance to empty (DTE) engine stall and/or other drivability concerns
                                                                       related to stuck open CPV. … This may result in an engine stall while driving without
                                                                       warning or without the ability to restart, and can increase the risk of a crash.

USA              8263          2005   Honda     Accord      19V-182    In the event of an inflator rupture, metal fragments could pass through the airbag
Phoenix                                                                cushion material and into the vehicle interior at high speed, potentially causing serious
                                                                       injury or death to you or others in the vehicle. (Takata Airbag Recall)

USA              1883          2017   Jeep     Renegade     18V-731    If the fuel pump contains an out of specification inlet cover profile, the fuel pump under
Phoenix                                                                high power demand conditions using standard E10 fuel in conjunction with high altitude
                                                                       and/or high ambient temperature conditions, the pump may experience cavitation
                                                                       causing a loss of fuel pressure. A loss of fuel pressure may lead to an engine stall
                                                                       resulting in a sudden loss of motive power, which can cause a vehicle crash without
                                                                       prior warning.

USA              8270          2018   Nissan     Titan       TBD       At low battery voltage, the vehicle’s electrical components may flicker and turn off. The
Phoenix                                                                vehicle will operate at reduced power and if the condition worsens, an engine stall may
                                                                       occur while driving. In rare cases, the short may result in an engine compartment fire.

USA              9842          2016   Nissan    Altima      18V-915    The cable may interfere with the window regulator causing the rear passenger door to
Phoenix                                                                unlatch and inadvertently open when the window is lowered. If this occurs while the
                                                                       vehicle is in motion, it may increase the risk of injury to the rear passengers.

USA              9842          2016   Nissan    Altima      16V-244    Failure of the passenger airbag to deploy during a crash (where deployment is
Phoenix                                                                warranted) could increase the risk of injury to the passenger.




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 AutoNation         VIN                                          NHTSA
 Location       (Last 4 Digits)   Year     Make       Model      Recall #   Safety Risk

 Tennessee

 Ford               4160          2015   Chevrolet   Silverado   18V586     If electric power steering (EPS) assist is lost and suddenly returned, the driver could
 Lincoln                                                                    have difficulty steering the vehicle, especially at low speeds, increasing the risk of a
 Wolfchase                                                                  crash.

 Ford               6308          2004   Dodge Ram     1500      16V-352    An inflator rupture, during airbag deployment events, could result in metal fragment(s)
 Lincoln                                                                    striking the vehicle occupant(s) resulting in serious injury or death. (Takata Airbag
 Wolfchase                                                                  Recall)

 Ford               6346          2016     Ford      Explorer    19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
 Lincoln                                                                    of a crash.
 Wolfchase

 Ford               4138          2016     Ford      Explorer    19V435     A fracture of a rear toe link significantly diminishes steering control, increasing the risk
 Lincoln                                                                    of a crash.
 Wolfchase

 Ford               7029          2015     Ford        F-150     17V652     On your vehicle, a frozen door latch, or a bent or kinked door latch actuation cable, may
 Lincoln                                                                    result in a door that will not open, will not close, or opens while driving. … This may
 Wolfchase                                                                  result in a latch that may not fully engage the door striker which could cause the door
                                                                            to open while driving, increasing the risk of injury.

 Ford               3279          2015     Ford       Fusion     18V471     On your vehicle, the bushing in the transmission shifter cable may degrade over
 Lincoln                                                                    time. This may cause the transmission shifter cable to not be able to fully move the
 Wolfchase                                                                  transmission to the selected gear position. … If the driver attempts to shift to park in
                                                                            this condition, the transmission may not be in the park position even though the shifter
                                                                            position indicates the vehicle is in park, and the transmission not in park warning may
                                                                            not appear. This could result in unintended vehicle movement, increasing the risk of
                                                                            injury or crash.

 Ford               3158          2013     Jeep       Grand      17V-572    Water intrusion of the brake booster in a cold climate may lead to freezing and limit the
 Lincoln                                             Cherokee               braking ability of a vehicle. Limited braking ability can cause a vehicle crash without
 Wolfchase                                                                  prior warning.

 Ford               0871          2017     Ram         3500      18V-100    The transmission may be shifted of the PARK position without a key in the ignition or a
 Lincoln                                                                    brake pedal application. This increases the potential for an unintended vehicle rollaway
 Wolfchase                                                                  that may result in a vehicle crash or injury without prior warning.

 Ford               0871          2017     Ram         3500      18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
 Lincoln                                                                    speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
 Wolfchase                                                                  stop the vehicle, this condition can cause a vehicle crash without warning.

 Ford               0871          2017     Ram         3500      19V-021    A drag link separation can result in a loss of directional steering control, which can
 Lincoln                                                                    cause a vehicle crash without prior warning.
 Wolfchase

 Chrysler           3353          2017     BMW          X1       16V747     The Emergency Locking Retractor (ELR) of the driver's safety belt may be out of
 Dodge Jeep                                                                 specification. Therefore, it may not fully conform to a Federal Regulation. … In a crash,
 Ram and                                                                    this could increase the risk of injury to the driver. However, the safety belt is equipped
 Fiat Johnson                                                               with a secondary ELR that is fully functional.
 City

 Chrysler           3353          2017     BMW          X1       19V349     A vertical trim piece on the inside of the vehicle, between the front and rear doors, may
 Dodge Jeep                                                                 marginally exceed a Federal requirement for an unbelted compliance test. … In a severe
 Ram and                                                                    accident, this could increase the risk of injury to the rear seat passengers if they are
 Fiat Johnson                                                               unbelted.
 City

 Chrysler           9243          2007   Chevrolet   Silverado   16V383     The propellant in some types of Takata airbag inflators can degrade over time,
 Dodge Jeep                                                                 especially after long term exposure in hot and humid regions. If the propellant degrades
 Ram and                                                                    to a certain level, the inflators may rupture during deployment, causing serious or fatal
 Fiat Johnson                                                               injuries.
 City

 Chrysler           6315          2007   Chevrolet   Avalanche   16V381     The propellant in some types of Takata airbag inflators can degrade over time,
 Dodge Jeep                                                                 especially after long term exposure in hot and humid regions. If the propellant degrades
 Ram and                                                                    to a certain level, the inflators may rupture during deployment, causing serious or fatal
 Fiat Johnson                                                               injuries.
 City




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AutoNation         VIN                                       NHTSA
Location       (Last 4 Digits)   Year     Make      Model    Recall #   Safety Risk

Chrysler           7978          2016     Dodge     Dart     19V-293    If shifter cable becomes detached from the transmission the vehicle may not perform
Dodge Jeep                                                              the shifts intended by the driver. Unintended vehicle movement and vehicle crash can
Ram and                                                                 occur.
Fiat Johnson
City

Chrysler           1967          2015     Dodge     Dart     19V-293    If shifter cable becomes detached from the transmission the vehicle may not perform
Dodge Jeep                                                              the shifts intended by the driver. Unintended vehicle movement and vehicle crash can
Ram and                                                                 occur.
Fiat Johnson
City

Chrysler           2038          2006   Dodge Ram   2500     13V-528    The left tie rod ball stud on the Mopar service parts steering linkage may fracture under
Dodge Jeep                                                              certain driving conditions. … This could cause a loss of directional control and/or a
Ram and                                                                 crash without warning.
Fiat Johnson
City

Chrysler           2038          2006   Dodge Ram   2500     15V-313    An inflator rupture, during airbag deployment events, could result in metal fragments
Dodge Jeep                                                              striking and potentially seriously injuring the vehicle occupant(s). (Takata Airbag Recall)
Ram and
Fiat Johnson
City

Chrysler           2038          2006   Dodge Ram   2500     16V-352    An inflator rupture, during airbag deployment events, could result in metal fragment(s)
Dodge Jeep                                                              striking the vehicle occupant(s) resulting in serious injury or death. (Takata Airbag
Ram and                                                                 Recall)
Fiat Johnson
City

Chrysler           2761          2006   Dodge Ram   2500     13V-528    The left tie rod ball stud on the Mopar service parts steering linkage may fracture under
Dodge Jeep                                                              certain driving conditions. … This could cause a loss of directional control and/or a
Ram and                                                                 crash without warning.
Fiat Johnson
City

Chrysler           2761          2006   Dodge Ram   2500     15V-313    An inflator rupture, during airbag deployment events, could result in metal fragments
Dodge Jeep                                                              striking and potentially seriously injuring the vehicle occupant(s). (Takata Airbag Recall)
Ram and
Fiat Johnson
City

Chrysler           2761          2006   Dodge Ram   2500     16V-352    An inflator rupture, during airbag deployment events, could result in metal fragment(s)
Dodge Jeep                                                              striking the vehicle occupant(s) resulting in serious injury or death. (Takata Airbag
Ram and                                                                 Recall)
Fiat Johnson
City

Chrysler           2023          2016     Ford      F-150    18V568     A fire in the b-pillar area may spread within the vehicle and increase the risk of injury.
Dodge Jeep                                                              You may notice odor and/or smoke as the fire develops.
Ram and
Fiat Johnson
City

Chrysler           7107          2014     Ford      Focus    18V735     If the canister purge valve (CPV) malfunctions and sticks open, it can lead to excessive
Dodge Jeep                                                              vacuum in the fuel vapor system, potentially deforming the plastic fuel tank. This can
Ram and                                                                 cause the following symptoms: illuminated malfunction indicator lamp (MIL) with
Fiat Johnson                                                            certain diagnostic trouble codes (DTCs) inaccurate or erratic fuel gauge indication
City                                                                    inaccurate distance to empty (DTE) engine stall and/or other drivability concerns
                                                                        related to stuck open CPV. … This may result in an engine stall while driving without
                                                                        warning or without the ability to restart, and can increase the risk of a crash.

Chrysler           3654          2014     GMC       Sierra   17V414     If electric power steering (EPS) assist is lost and suddenly returned, the driver could
Dodge Jeep                                                              lose temporary control of the steering wheel, increasing the risk of a crash.
Ram and
Fiat Johnson
City

Chrysler           2665          2010    Honda      Pilot    18V-042    In the event of a passenger frontal airbag inflator rupture, metal fragments could pass
Dodge Jeep                                                              through the airbag cushion material, potentially resulting in injury to vehicle occupants.
Ram and                                                                 The risk of such an occurrence increases over time. It is imperative you schedule an
Fiat Johnson                                                            appointment with an authorized Honda dealer now to avoid this condition in the future.
City                                                                    (Takata Airbag Recall)




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 AutoNation         VIN                                        NHTSA
 Location       (Last 4 Digits)   Year    Make      Model      Recall #   Safety Risk

 Chrysler           8622          2019   Hyundai   Veloster   19V311000   In certain side impact crashes, the driver's door latch housing and locking cable can
 Dodge Jeep                                                               become damaged, allowing the driver's side door to open.
 Ram and
 Fiat Johnson
 City

 Chrysler           9576          2014    Jeep     Cherokee    15V-041    An unwanted airbag deployment could cause a crash under certain driving conditions.
 Dodge Jeep
 Ram and
 Fiat Johnson
 City

 Chrysler           9576          2014    Jeep     Cherokee    15V-509    A failed body control module (BCM) could cause the windshield wiper to stop
 Dodge Jeep                                                               functioning without warning. Operating the vehicle without windshield wipers under
 Ram and                                                                  certain driving conditions could limit the drivers view and cause a crash.
 Fiat Johnson
 City

 Chrysler           9576          2014    Jeep     Cherokee    16V-529    This may cause an intermittent high electrical resistance in the transaxle wire harness
 Dodge Jeep                                                               circuit(s). A high resistance circuit(s) in this wiring harness will cause the on-board
 Ram and                                                                  diagnostic system to set a diagnostic trouble code (DTC). When the DTC is set, the
 Fiat Johnson                                                             system defaults the transaxle to neutral and the customer experiences a loss of motive
 City                                                                     power. … The loss of motive power could cause a crash without warning.

 Chrysler           8542          2010     Kia       Soul      14V822     A detached headliner plate may increase the risk of injury to the occupant during a
 Dodge Jeep                                                               vehicle crash.
 Ram and
 Fiat Johnson
 City

 Chrysler           0306          2011   Lincoln     MKZ       19V001     The passenger frontal airbag inflator could rupture if the vehicle is involved in a crash
 Dodge Jeep                                                               where the supplemental frontal airbags are designed to deploy. If an inflator ruptures
 Ram and                                                                  metal fragments could enter the passenger compartment increasing the risk of injury or
 Fiat Johnson                                                             death to occupants. (Takata Airbag Recall)
 City

 Chrysler           0492          2016   Nissan    Murano      18V-601    In certain vehicles affected by this recall, the anti-lock brake system (ABS) actuator
 Dodge Jeep                                                               may leak brake fluid. If this occurs, the ABS warning lamp will illuminate and remain
 Ram and                                                                  continually illuminated on the instrument panel. … If this condition is ignored, the leak
 Fiat Johnson                                                             can potentially create an electrical short, and in rare instances, may lead to a fire.
 City

 Chrysler           1608          2017    Ram       2500       19V-021    A drag link separation can result in a loss of directional steering control, which can
 Dodge Jeep                                                               cause a vehicle crash without prior warning.
 Ram and
 Fiat Johnson
 City

 Chrysler           6180          2016    Ram       3500       19V-021    A drag link separation can result in a loss of directional steering control, which can
 Dodge Jeep                                                               cause a vehicle crash without prior warning.
 Ram and
 Fiat Johnson
 City

 Chrysler           9655          2016   Subaru    Impreza    19V149000   Depending on the model, the brake lamp switch functions affected may include: brake
 Dodge Jeep                                                               lamp illumination, transmission interlock (shifting from park), ignition interlock (push-
 Ram and                                                                  button ignition start), anti-lock brake system (ABS) functionality, vehicle dynamics
 Fiat Johnson                                                             control (VDC) functionality, and/or Eyesight operation. If the vehicle experiences a loss
 City                                                                     in function, as described, any of the associated warning light(s) will illuminate. If the
                                                                          brake lamps do not illuminate properly, a trailing vehicle may be unable to recognize the
                                                                          braking operation, which may increase the risk of a rear-end collision.

 Chrysler           2363          2013   Subaru    Legacy     19V008000   An explosion of an inflator within the passenger frontal air bag module may result in
 Dodge Jeep                                                               sharp metal fragments striking the front seat passenger, driver or other occupants
 Ram and                                                                  resulting in serious injury or death.
 Fiat Johnson
 City

 Chrysler           9431          2018   Toyota    Tacoma      18V888     The brake pedal feel could change, and front brake performance could be suddenly
 Dodge Jeep                                                               reduced. This could result in increased vehicle stopping distance and may increase the
 Ram and                                                                  risk of a crash.
 Fiat Johnson
 City




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AutoNation       VIN                                          NHTSA
Location     (Last 4 Digits)   Year     Make       Model      Recall #   Safety Risk

Ohio

Ford             6036          2016     Ford        Focus     18V735     If the canister purge valve (CPV) malfunctions and sticks open, it can lead to excessive
Westlake                                                                 vacuum in the fuel vapor system, potentially deforming the plastic fuel tank. This can
                                                                         cause the following symptoms: illuminated malfunction indicator lamp (MIL) with
                                                                         certain diagnostic trouble codes (DTCs) inaccurate or erratic fuel gauge indication
                                                                         inaccurate distance to empty (DTE) engine stall and/or other drivability concerns
                                                                         related to stuck open CPV. … This may result in an engine stall while driving without
                                                                         warning or without the ability to restart, and can increase the risk of a crash.

Ford             1285          2016     Ford        Focus     18V735     If the canister purge valve (CPV) malfunctions and sticks open, it can lead to excessive
Westlake                                                                 vacuum in the fuel vapor system, potentially deforming the plastic fuel tank. This can
                                                                         cause the following symptoms: illuminated malfunction indicator lamp (MIL) with
                                                                         certain diagnostic trouble codes (DTCs) inaccurate or erratic fuel gauge indication
                                                                         inaccurate distance to empty (DTE) engine stall and/or other drivability concerns
                                                                         related to stuck open CPV. … This may result in an engine stall while driving without
                                                                         warning or without the ability to restart, and can increase the risk of a crash.

Ford             2924          2016     Ford       Fusion     19V362     On your vehicle, the bushing in the transmission shifter cable may degrade over
Westlake                                                                 time. This may cause the transmission shifter cable to not be able to fully move the
                                                                         transmission to the selected gear position. … If the driver attempts to shift to park in
                                                                         this condition, the transmission may not be in the park position even though the shifter
                                                                         position indicates the vehicle is in park, and the transmission not in park warning may
                                                                         not appear. This could result in unintended vehicle movement, increasing the risk of
                                                                         injury or crash.

Ford             1416          2015     Ford       Fusion    AWAITING#   Driver and front passenger seat belt assemblies may not adequately restrain the
Westlake                                                                 occupant in a crash. … Seat belt assemblies that do not adequately restrain the
                                                                         occupant in a crash can increase the risk of injury.

Ford             9788          2017     Ram         1500      18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
Westlake                                                                 speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                         stop the vehicle, this condition can cause a vehicle crash without warning.

Ford             9788          2017     Ram         1500      18V-486    An unintended opening of the tailgate while driving may result in a loss of unrestrained
Westlake                                                                 cargo from the truck bed while driving. Lost cargo may create a road hazard to
                                                                         operators and occupants of other vehicles, and can cause such vehicles to crash.

Washington

Subaru           0052          2016     Audi         A3       19V474     In the event of a crash there would be an increased risk of injury to the occupant seated
Spokane                                                                  in the front passenger seat if the passenger airbag is switched off/not working.

Subaru           5736          2017   Mitsubishi   Mirage     19V330     The self-diagnostic function used by the internal acceleration sensor in the
Spokane                                                                  supplemental restraint system – electric crash unit (SRS-ECU) may misinterpret
                                                                         vibration caused by severe road conditions and/or driving on a flat tire to be a
                                                                         malfunction in the SRS-ECU. If this occurs, the SRS warning lamp will illuminate and
                                                                         none of the seven airbags available in the vehicle will deploy in the event of a crash. …
                                                                         The airbags (frontal/knee/side/side curtain) will not deploy increasing the risk of injury
                                                                         or death in a crash.

Subaru           9607          2015     Ford       Mustang    16V643     A door latch with a fractured pawl spring tab typically results in a "door will not close"
Spokane                                                                  condition. A door that opens while driving increases the risk of injury.

Subaru           3837          2015     Ford       Mustang    16V643     A door latch with a fractured pawl spring tab typically results in a "door will not close"
Spokane                                                                  condition. A door that opens while driving increases the risk of injury.

Subaru           5386          2015     Scion        xB       19V005     In the event of an inflator explosion, metal fragments could pass through the airbag
Spokane                                                                  cushion material, striking the vehicle occupants, and result in serious injury or death.
                                                                         (Takata Airbag Recall)

Subaru           5386          2015     Scion        xB      1.80E+92    There is a possibility that the brake hoses installed as a part of this kit could become
Spokane                                                                  damaged over time. … This condition could lead to reduced braking performance while
                                                                         driving, increasing the risk of a crash.

Subaru           9339          2015     Audi         A3       19V474     In the event of a crash there would be an increased risk of injury to the occupant seated
Spokane                                                                  in the front passenger seat if the passenger airbag is switched off/not working.

Subaru           4854          2015     Audi         A3       19V474     In the event of a crash there would be an increased risk of injury to the occupant seated
Spokane                                                                  in the front passenger seat if the passenger airbag is switched off/not working.




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 AutoNation       VIN                                         NHTSA
 Location     (Last 4 Digits)   Year    Make       Model      Recall #   Safety Risk

 Subaru           8965          2014    Ford      Mustang     19S01      The passenger frontal airbag inflator could rupture if the vehicle is involved in a crash
 Spokane                                                                 where the supplemental frontal airbags are designed to deploy. If an inflator ruptures
                                                                         metal fragments could enter the passenger compartment increasing the risk of injury or
                                                                         death to occupants. (Takata Airbag Recall)

 Subaru           4838          2014   INFINITI     Q50       16V-244    Failure of the passenger airbag to deploy during a crash (where deployment is
 Spokane                                                                 warranted) could increase the risk of injury to the passenger.

 Subaru           2516          2013   Subaru     Impreza    19V149000   Depending on the model, the brake lamp switch functions affected may include: brake
 Spokane                                                                 lamp illumination, transmission interlock (shifting from park), ignition interlock (push-
                                                                         button ignition start), anti-lock brake system (ABS) functionality, vehicle dynamics
                                                                         control (VDC) functionality, and/or Eyesight operation. If the vehicle experiences a loss
                                                                         in function, as described, any of the associated warning light(s) will illuminate. If the
                                                                         brake lamps do not illuminate properly, a trailing vehicle may be unable to recognize the
                                                                         braking operation, which may increase the risk of a rear-end collision.

 Subaru           2516          2013   Subaru     Impreza    18V772000   The engine valve springs in these vehicles may fracture causing an engine malfunction
 Spokane                                                                 or a possible engine stall. … An engine stall can increase the risk of a crash.

 Subaru           7155          2005   Dodge      Dakota      16V-352    An inflator rupture, during airbag deployment events, could result in metal fragment(s)
 Spokane                                                                 striking the vehicle occupant(s) resulting in serious injury or death. (Takata Airbag
                                                                         Recall)

 Subaru           7155          2005   Dodge      Dakota      17V-820    Fatigue failures of the carbon element can cause hot spots to develop which can
 Spokane                                                                 propagate into burn holes in the seat cushion or open flames in the interior of the
                                                                         vehicle. Any of these consequences may increase the risk of occupant injury.

 Honda            7974          2016    Audi        Q5        18V229     The electric (after-run) coolant pump may short circuit and/or overheat, potentially
 Renton                                                                  leading to a vehicle fire.

 Honda            5793          2016    Audi      Allroad     17V622     Melting wires may usually lead to an open circuit, but can also lead to overheating
 Renton                                                                  which can result in a fire.

 Honda            5793          2016    Audi      Allroad     18V229     The electric (after-run) coolant pump may short circuit and/or overheat, potentially
 Renton                                                                  leading to a vehicle fire.

 Honda            4082          2016    Audi        A3        19V474     In the event of a crash there would be an increased risk of injury to the occupant seated
 Renton                                                                  in the front passenger seat if the passenger airbag is switched off/not working.

 Honda            5840          2015   Cadillac   Escalade    18V586     If electric power steering (EPS) assist is lost and suddenly returned, the driver could
 Renton                                                                  have difficulty steering the vehicle, especially at low speeds, increasing the risk of a
                                                                         crash.

 Honda            2251          2014   Dodge      Durango     18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
 Renton                                                                  speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                         stop the vehicle, this condition can cause a vehicle crash without warning.

 Honda            0721          2013    Ford      Escape      18V471     On your vehicle, the bushing in the transmission shifter cable may degrade over
 Renton                                                                  time. This may cause the transmission shifter cable to not be able to fully move the
                                                                         transmission to the selected gear position. … If the driver attempts to shift to park in
                                                                         this condition, the transmission may not be in the park position even though the shifter
                                                                         position indicates the vehicle is in park, and the transmission not in park warning may
                                                                         not appear. This could result in unintended vehicle movement, increasing the risk of
                                                                         injury or crash.

 Honda            6831          2007    Ford      Mustang     15V319     An inflator rupture could result in metal fragments striking and potentially seriously
 Renton                                                                  injuring vehicle occupants. (Takata Airbag Recall)

 Honda            6831          2007    Ford      Mustang     19V001     The passenger frontal airbag inflator could rupture if the vehicle is involved in a crash
 Renton                                                                  where the supplemental frontal airbags are designed to deploy. If an inflator ruptures
                                                                         metal fragments could enter the passenger compartment increasing the risk of injury or
                                                                         death to occupants. (Takata Airbag Recall)

 Honda            9843          2017   Hyundai    Sonata     17V359000   If the parking brake indicator is not illuminated when the parking brake is applied, the
 Renton                                                                  driver may operate the vehicle with the parking brake partially engaged, increasing the
                                                                         risk of a crash.

 Honda            9996          2003    Jeep      Liberty     13V-252    The fuel tank on your vehicle has a small chance of experiencing a fuel leak during
 Renton                                                                  certain types of rear end collisions. … Fuel leakage in the presence of an ignition source
                                                                         can result in an underbody fire.

 Honda            9996          2003    Jeep      Liberty     15V-046    An inadvertent airbag deployment while driving could distract the driver and cause a
 Renton                                                                  crash without warning.



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AutoNation         VIN                                          NHTSA
Location       (Last 4 Digits)   Year     Make        Model     Recall #   Safety Risk

Honda              1202          2016     Nissan       Leaf     16V-244    Failure of the passenger airbag to deploy during a crash (where deployment is
Renton                                                                     warranted) could increase the risk of injury to the passenger.

Honda              3089          2002     Saturn       LW       05V158     The seat belt anchor may separate from the floor of the vehicle before holding the
Renton                                                                     required test load for the required time. … If a separation occurred in crash, the right
                                                                           and center rear seat occupants may not be properly restrained, increasing the risk of
                                                                           personal injury.

Honda              4624          2014   Volkswagen    Passat    19V389     Incorrectly adjusted headlights may result in reduced visibility (for the driver and other
Renton                                                                     motorists) which could increase the risk of a crash.

Illinois

Honda              3932          2015     Dodge      Journey    18V-332    If the CAN-C bus stops communicating, the cruise control may maintain current vehicle
O'Hare                                                                     speed or possibly accelerate. If the driver does not shift to neutral or apply the brakes to
                                                                           stop the vehicle, this condition can cause a vehicle crash without warning.

Honda              2676          2012      Ford      Escape     16V777     The fuel delivery module may develop a crack in the fuel supply port, which could result
O'Hare                                                                     in a leak. … A fuel leak may result in a fuel odor and/or visible fuel on the ground under
                                                                           the fuel tank. A fuel leak in the presence of an ignition source may increase the risk of
                                                                           a fire.

Honda              3372          2015     Honda      Accord     19V-060    Reduced fuel flow to the engine combined with vehicle operation in high temperature
O'Hare                                                                     conditions can restrict vehicle acceleration and/or cause an engine stall, which
                                                                           increases the risk of a crash.

Honda              2531          2015      Jeep      Wrangler   19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
O'Hare                                                                     into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                           occupants. (Takata Airbag Recall)

Honda              5980          2015      Jeep      Wrangler   19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
O'Hare                                                                     into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                           occupants. (Takata Airbag Recall)

Honda              5401          2016     Nissan      Altima    18V-915    The cable may interfere with the window regulator causing the rear passenger door to
O'Hare                                                                     unlatch and inadvertently open when the window is lowered. If this occurs while the
                                                                           vehicle is in motion, it may increase the risk of injury to the rear passengers.

Toyota             8276          2017    Chevrolet     Trax     19V312     If a lower-control arm partially separates from the vehicle, the front wheel attached
Libertyville                                                               to the control arm will toe outward, adversely affecting the vehicle’s steering and
                                                                           potentially causing the tire to rub against the wheel well, increasing the risk of a crash.

Toyota             1800          2019      Jeep      Cherokee   19V-449    A loss of communication between the Occupant Restraint Controller (ORC) and one or
Libertyville                                                               more of the acceleration sensors may result in a diminished capability of the airbag
                                                                           system to properly detect certain crash events which may result in degraded inflator
                                                                           outputs, late air bag deployment, or a failure to deploy. If an acceleration sensor loses
                                                                           communication with the ORC, the air bag warning lamp will illuminate in the instrument
                                                                           panel indicating a malfunction in the occupant restraint system. If this warning is not
                                                                           heeded, this condition may increase the risk of injury to vehicle occupants in the event
                                                                           of a crash.

Toyota             1388          2011      Jeep      Wrangler   19V-018    An inflator explosion may cause metal fragments to pass through the airbag and
Libertyville                                                               into the vehicle interior at high speed, which may result in injury or death to vehicle
                                                                           occupants. (Takata Airbag Recall)

Toyota             9538          2004      Jeep       Grand     15V-673    The airbag system occupant restraint control (ORC) module on your vehicle may
Libertyville                                         Cherokee              experience a front airbag and/or seatbelt pretensioner inadvertent deployment. ...
                                                                           An inadvertent deployment while driving could distract the driver and cause a crash
                                                                           without warning.

Toyota             2346          2011     Toyota     4Runner    19V005     In the event of an inflator explosion, metal fragments could pass through the airbag
Libertyville                                                               cushion material, striking the vehicle occupants, and result in serious injury or death.
                                                                           (Takata Airbag Recall)




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          Notes
             1     “America’s Largest Auto Retailer”: AutoNa-        4    In one tragic crash near San Diego, Califor-
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                                                                 and Cleofe’s brother Chris Lastrella were all killed
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          org/web/20190911202558/https://money.cnn.              Lexus Deaths Lawsuit,” The San Diego Tribune,
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          https://www.chicagotribune.com/autos/ct-worst-         tee on Commerce, Science and Transportation,
          auto-recalls-of-all-time-20160728-photogallery.html.   Examining Takata Airbag Defects and The Vehicle
                                                                 Recall Process, 20 November 2014, accessed at www.
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          ber 2019, archived at https://web.archive.org/         Shot or Stabbed,” CNN Money, 20 November 2014,
          web/20190911204404/https://cars.usnews.com/            available at money.cnn.com/2014/11/20/au-tos/
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